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      1                    IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
      2
                                 FORT LAUDERDALE DIVISION
      3
                                 CASE NO.:    20-cv-61469-RS
      4

      5

      6

      7 AKAI CUSTOM GUNS, a Florida     )
        Limited Liability Company,      )
      8 LLC, et al.,                    )
                                        )
      9                  Plaintiffs,    )                    July 28, 2022
                                        )
     10                                 )
          KKM PRECISION, INC., et al., )
     11   A Nevada Corporation,         )
                                        )                    Pages 1 - 108
     12                  Defendants.    )
          ______________________________/
     13

     14

     15

     16                            DISCOVERY PROCEEDINGS

     17                   BEFORE THE HONORABLE ALICIA O. VALLE
                             UNITED STATES MAGISTRATE JUDGE
     18

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     20
          APPEARANCES:
     21

     22 On behalf of the Plaintiff for Akai Custom Guns:

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                          Birmingham, MI 48009.
     25                   BY: EDMUND S. YEE, ESQ.
                          BY: RICHARD FIATO, ESQ.
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      1              (Thereupon, following proceedings were held:)

      2              THE COURT:     Good afternoon everyone.

      3              Thank you for calling into this telephonic motion

      4   hearing.    If I could please call the case Akai Custom Guns LLC,

      5   et al. versus KKM Precision, et al.; Case Number 20-cv-61469.

      6   This case is assigned to District Judge Smith and he has

      7   referred the motions to me for consideration.

      8              So if I could please have everyone's appearance on the

      9   record beginning with Plaintiffs' counsel.

     10              MR. YEE:    Good afternoon, Your Honor.

     11              Edmund Yee appearing on behalf of Plaintiffs.

     12              MR. FIATO:   Good afternoon, Your Honor.      Richard Fiato

     13   appearing on behalf of the Plaintiffs.

     14              MR. MARI:    Good afternoon, Your Honor.     Nicolas Mari

     15   on behalf of Defendant KKM Precision.

     16              MR. BENFORD:    Good afternoon, Your Honor.

     17              John Benford of with Wilson Elser Moskowitz Edelman

     18   and Dicker co-counsel for Defendant Shooters Connection, Inc.

     19              THE COURT:   Right.   Thank you everyone for calling in

     20   this afternoon.

     21              Before getting started, I just want to go over a

     22   couple of preliminary matters of really the technology that we

     23   are using.

     24              First of all, when you speak, it is important that you

     25   please state your name and that is helpful to me since I am not
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      1   seeing you so I know who is speaking.       But it is also important

      2   if at any point you need a transcript of these proceedings

      3   whoever is transcribing it will know who the speaker is.

      4             Also, I would ask that you speak a little slower than

      5   you normally would because sometimes I note there is a little

      6   bit of a time lag when you use this system.

      7             So if you speak too quickly the sentence at the end

      8   will be garbled and jumbled and so it is best that we slow down

      9   a little bit.    In addition that helps when we're speaking over

     10   one another.

     11             As you can tell the proceedings are being recorded and

     12   there is no live court reporter taking things down.          So these

     13   measures are important.     As I said before, to assure an

     14   accurate recording and, of course, an accurate transcript if

     15   you later need one of these proceedings.

     16             To this end, I am going to ask that you please mute

     17   your phone, whether it is a cell phone or a landline when you

     18   are not speaking.    This avoids a lot of background noise and

     19   interference that we sometimes get during our telephonic

     20   conferences.

     21             Importantly and finally, if you get disconnected, all

     22   you have to do is call back to the number that you called into

     23   now.   As I explained when we were off the record in terms of

     24   the technology, I have a conference monitor screen in front of

     25   me and in that screen I now have your names.
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      1             If you get dropped off the call I will know that you

      2   got dropped off in one of two ways.       First, I will hear a

      3   little alarm, a little bell that goes off that alerts me to the

      4   fact that someone has either entered or left the conference

      5   call, or I may also see the fact that your name is going to

      6   drop off my screen.

      7             If either of those happen, I will know that you are

      8   not with us and we will wait for you to call back.         So that's

      9   just it in terms of the technology.       Nothing too complicated.

     10             We are here this afternoon on four motions.         The first

     11   is Plaintiff's motion to compel complete answers to Plaintiffs'

     12   first request for production of documents from Defendant KKM.

     13   That's at ECF 80.

     14             The second motion is Plaintiffs' motion to compel

     15   accurate answers to Plaintiffs' second request for admissions

     16   and to Plaintiffs' first, second, and third request for

     17   production to Defendant KKM, or in the alternative, to deem

     18   certain matters admitted.      And that was at ECF number 86.

     19             The next motion is Defendant SCI's motion for relief

     20   from Plaintiffs' claim of technical admissions and that's at

     21   ECF number 88.

     22             And lastly, we've got Plaintiffs' motion to deem

     23   matters admitted, or in the alternative, compel accurate

     24   answers to the second request for admission and that's at ECF

     25   on number 90.    And these are the second requests for admissions
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      1   to SCI.

      2             I would note that 88, which is Defendant SCI's motion

      3   was the first request for admission.       Number 90 deals with the

      4   second request for admission and that's at, as I said, at ECF

      5   90.

      6             The joint status report was filed for each of these

      7   motions at ECF number 95.      That was filed July 21st and,

      8   unfortunately, it indicates that the motion by and large

      9   remains in dispute.

     10             Before proceeding and to hear argument from the

     11   parties, what I would like to do is just offer some background

     12   on the case.    If anything I say is incorrect, please let me

     13   know.

     14             I have tried to make myself as familiar as I could

     15   with the issues so that I could rule on these matters.          And

     16   then, I will also just review some of the upcoming deadlines to

     17   make sure that we are all on the same page regarding the status

     18   of the case.

     19             Basically, I think relevant here in preparing for

     20   today I did read ECF number 56, which was the Court's order on

     21   the Defendants' joint motion to dismiss that gave a good

     22   background of the proceedings to that date and, of course, that

     23   was dated September 27th of 2021.

     24             After the joint motion the order was entered on the

     25   motion to dismiss, Defendants KKM and SCI both answered and
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      1   started affirmative defenses to the complaint.

      2              Relevant here, what we have is ECF number 72, which is

      3   the Court's second amended scheduling order that was entered

      4   March 15th of this year.     And in that second amended scheduling

      5   order we have a fact scheduling deadline of August 30th, which

      6   is literally a month away.

      7              Dispositive motion deadline is September 13th.

      8   Calendar call is February 7th and the trial date of

      9   February 13th.    So that's all the background and the time

     10   constraints under which we will be operating as I rule on these

     11   motions.

     12              Before, again, turning -- I don't want you to spend a

     13   lot of time educating me on the claims.        I understand that the

     14   matter involved claims by Plaintiffs Akai Custom Guns and Mr.

     15   Horowitz against the Defendants SCI and KKM.

     16              And the complaint alleges that the Defendants violated

     17   Florida Statute 817.41 misleading advertising.         As well as

     18   FDUPTA fraudulent inducement and breach of express and implied

     19   warranty resulting from the purportedly misleading advertising

     20   and sale of KKM pistol barrel KKM to SCI and some directly from

     21   KKM.

     22              According to the Plaintiff, the Defendant KKM

     23   advertised that all KKM barrels were made using a certified

     24   416-R gun barrel quality stainless steel bar stock that are

     25   heat treated and vacuum tempered to a rock hardness of 42-RC.
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      1               However, Plaintiff claims that none of the bars that

      2   were manufactured and sold by KKM and SCI were made from this

      3   steel 416-R steel and that many of these barrels were not heat

      4   treated and vacuum tempered to the required 42-RC and that SCI

      5   and KKM knew it, but did not disclose it to the public or to

      6   the Plaintiffs.

      7               According to the Plaintiffs, these barrels failed to

      8   the specifications.     It did not meet the specifications and

      9   they failed in operation and in testing resulting in damages to

     10   the Plaintiffs.

     11               Plaintiffs also assert a number of counts against the

     12   Defendants for defamation, defamation per se, defamation by

     13   implication, commercial disparagement and civil conspiracy to

     14   commit commercial disparagement.       So that's my understanding of

     15   the case in a nutshell.

     16               In preparation for today's hearing I have reviewed the

     17   docket.   As you could see, I have read the order on the motion

     18   for summary judgment.     I have obviously read the respective

     19   motions at issue for today and the relevant JSR.

     20               So what I would like to do going forward now is I am

     21   going to allow each side 20 minutes to argue.         I am also going

     22   to give the proponent of the motion an extra five minutes for

     23   rebuttal.    I will hear from Plaintiffs first and what we will

     24   do is we will handle all of Plaintiffs' motions first in the

     25   20 minutes and, then, I will turn to the Defense for its
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      1   response.

      2               Please do not interrupt each other.      If you have a

      3   comment to make or if you think your opposing counsel has made

      4   a misstatement, or an incorrect statement, or whatever, just

      5   make a note of it and you can bring it up when it is your turn

      6   to argue.    I do not want this to turn into a Ping-Pong match

      7   back and forth.

      8               It is inefficient and it really doesn't help me to

      9   shed light on the issues.      So if you have a point to make, when

     10   it is your turn to speak, you will have an opportunity to do

     11   so.

     12               Please know that I will be asking you questions.          I

     13   think that is the best way for me to get to the bottom of what

     14   I am interested in.     If that happens and you feel that you need

     15   extra time to finish making a particular point that I prevented

     16   you from getting to, please let me know.

     17               I am flexible.   I just like to have some semblance of

     18   control over the timing.     So we will start with 20 minutes per

     19   side and five minutes for rebuttal for who whoever is bringing

     20   the motion.

     21               So with that said, let me get out the motions.        I

     22   guess the way I would like to proceed, let's leave the Defense

     23   SCI request for relief at ECF 88 to last.        That makes more

     24   sense.   So that I will hear first from Plaintiffs on the motion

     25   that I just described, 80, 86, and I believe it is 90; 80, 86,
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       1   and 90.

       2               Who is going to be arguing for Plaintiffs?

       3             MR. YEE:   Your Honor, this is Attorney Yee.       I will be

       4   the primary presenter for Plaintiffs.

       5             THE COURT:     Okay.   All right.   So let's start.   As

       6   soon as I find all these papers I will start my timer of

       7   20 minutes and, then, I will give you five minutes for

       8   rebuttal.

       9               All right.   You may begin, Mr. Yee.

      10             MR. YEE:   Thank you, Your Honor.

      11               Your Honor, as you probably are well aware and I was

      12   recently involved -- not aware of this, but I was involved in

      13   another case here in Michigan in another federal case in which

      14   a magistrate eloquently pointed out that a lawsuit is a search

      15   for the truth and in this particular case it is no different.

      16               As you mentioned you understand the background of what

      17   is going on here of what the Plaintiffs' claims are and

      18   Plaintiffs' counsel, Mr. Fiato and I, are simply trying to

      19   search for the truth.      We have sent a number of discovery

      20   requests to Defendants and we have received responses that have

      21   been evasive and inaccurate.

      22               For instance, in our first motions to compel it was

      23   prompted because of the documents that were produced by

      24   Defendant KKM, they were Bates labeled KKM 000001 through

      25   000167.   So as produced to date, Your Honor, a total of
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       1   167 pages which is in comparison with what Plaintiffs have

       2   produced to date we have produced over thousand pages of

       3   discovery documents.

       4              Regarding the pages that have been produced, 96 of the

       5   pages Bates labeled 72 to 167 are nothing more than fragments

       6   of the KKM website and it relates primarily to their frequently

       7   asked questions section of the website.

       8              We had asked for information from KKM as to what they

       9   advertised and published to the public as to what their barrels

      10   are made from, which you mentioned earlier, we were informed

      11   that they were made 416-R gun barrel quality steel.        And when

      12   we asked them to produce their advertising they gave us

      13   96 pages of fragments of their website that really shed no

      14   light on anything.

      15              If my math is correct, then, KKM to date has only

      16   produced 71 pages of information that is useful in some

      17   fashion, but even with the 71 pages that they have produced, a

      18   lot of it is duplicative.     So it is actually less than that and

      19   again it pales in comparison to what the Plaintiffs produced to

      20   date.   And for cross reference, Defendant SCI has produced over

      21   1800 pages of documents.

      22              In our request to compel production of documents first

      23   motion, for instance, we asked for information like testing

      24   results.   KKM asserts that although they tested certain barrels

      25   that they did not photograph or print the results, it is our
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       1   understanding in our research that the machine that they used

       2   to test the barrels is an innovative test machine that they

       3   use.   It is normally interfaced with a computer or a laptop,

       4   which stores the information, but yet they have not produced

       5   any of that information.

       6             We have also asked for information regarding any

       7   barrels that were returned to them for any reason, presumably,

       8   as a result of any claims of problems.       And we have received

       9   information through subpoena from a third patient named Keeley

      10   Custom Gun Works that indicates that they actually returned

      11   barrel KKM and those barrels were replaced, but KKM has not

      12   produced any of those communications or results.

      13             We also asked for documents relating to the process

      14   and requirements of the heat treating with their outside heat

      15   treater and Nevada Heat Treating.      All KKM has produced is a

      16   spreadsheet of information of test results, but there is no

      17   cross reference information as to what barrels they are.

      18             What I will get into later, Your Honor, it is our

      19   understanding that KKM through discovery purchased these

      20   barrels from two different suppliers, or manufacturers, I

      21   should say.

      22             And they indicate that that's all that they have, but

      23   they produced a document from Nevada Heat Treating that clearly

      24   says that the information or background supporting that

      25   spreadsheet data is available upon request, but yet KKM has
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       1   failed to make that request.

       2            THE COURT:    Mr. Yee, I thought I read in one of the

       3   later filings that Defendant KKM has agreed and cited a

       4   suggestion to request the testing results from Nevada Heat; is

       5   that incorrect?

       6            MR. YEE:    They did indicate that they would do that.

       7   That was in an oral conversation with Mr. Robinson who is the

       8   attorney on the pleadings.     Mr. Mari is in place for Mr.

       9   Robinson today.     Mr. Robinson did tell us over the telephone

      10   that he would do that, but to date we have not seen those

      11   documents.

      12            THE COURT:    Okay.   But I saw that in writing in one of

      13   the responses.    Otherwise I wouldn't know it.

      14             So my question to you is assuming that KKM does that

      15   and reaches out to Nevada and provides the document that you

      16   seek, as it says in its written submission that it will, does

      17   that moot your request or does that solve the request?

      18            MR. YEE:    It would moot the request.

      19             However, as you noted earlier, the end of fact

      20   discovery ends on August 30th, which is right around the

      21   corner, which really puts us behind the eight-ball in that

      22   we've been asking for this information for quite some time and

      23   still haven't received it.     So that's why we felt that a motion

      24   to compel, an order compelling for a certain date was

      25   necessary.
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       1               I mean an agreement to produce it is great, but yet we

       2   haven't seen it and now we have a discovery cutoff right around

       3   the corner.

       4            THE COURT:    Right.

       5            MR. YEE:    And it makes it very different for us to

       6   prepare our case.

       7            THE COURT:    Let's do this.    I understand your overall

       8   argument.    Let's go quickly over the particular request that

       9   you are moving to compel ECF 95 Pages 1 through 18.        That's the

      10   first motion; ECF number 80.     And then, let me see if I have

      11   any specific questions to ask you on that.

      12               Now with reference to request for production number

      13   one, the way I read it, is you are asking to test the actual

      14   barrel, correct?

      15            MR. YEE:    Correct.   And their response is that they

      16   didn't save the test results from their test equipment.         So

      17   we're asking for the barrels.     They identify an Akai Thompson

      18   Sleeve barrel that they received from somewhere somehow.         So

      19   they obviously have that barrel, but they have not agreed to

      20   produce that barrel for testing.

      21               They mention a joint testing protocol, which is true.

      22   All Defense counsel had a joint Zoom conference back in May of

      23   2021 where Defense expert would contact Plaintiffs expert to

      24   discuss a joint testing protocol.       The Defense expert did not

      25   reach out to Plaintiffs' expert until October of 2021 and there
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       1   have been promises of joint testing protocol, but that has not

       2   happened and that's why there has not been any exchange of

       3   barrels.

       4               They indicate that they have not been able to prepare

       5   their case because we haven't produced our barrels, but yet

       6   we've been waiting for a joint testing protocol that has been

       7   discussed since May of 2021 that still has not come to

       8   fruition.

       9              THE COURT:   Give me one second.    The other question I

      10   have not asked you about was Nevada.      I'm just making notes of

      11   things that --

      12              MR. YEE:   Sure.

      13              THE COURT:   -- could be produced, but have not yet

      14   been produced.

      15               So let me ask you this.   This joint testing protocol

      16   that you reference there, I read in one of Defendants'

      17   responses to one of your motions, I forget which because there

      18   were a lot, exactly what you just said.

      19               I guess that's what you are call them the joint

      20   testing protocol that they are willing to give you whatever

      21   barrels they have if you let them see and inspect whatever

      22   barrels you have held back; is that correct?

      23              MR. YEE:   Correct.

      24              THE COURT:   That's the joint testing protocol?

      25              MR. YEE:   Correct .   It's a protocol that sets forth
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       1   how the two experts were jointly pass so there is no arguments

       2   or issues over spoliation of evidence is primarily the goal

       3   behind the joint testing protocol.

       4              THE COURT:   Okay.    All right.    So here that's what you

       5   are looking for.      That's number one.      Basically this particular

       6   request could be resolved with a joint testing protocol,

       7   correct?

       8              MR. YEE:   Joint testing protocol and then production

       9   in a joint fashion of the barrels that each other hold for

      10   testing, correct.

      11              THE COURT:   Right.    Okay.   That doesn't sound to me

      12   that it should be insurmountable, but let me see.

      13              Let's go to the next one.       Although, of course

      14   Defendant says in its response at ECF 83 that a lot of its

      15   barrels have been returned to the customers.         Of course, there

      16   is nothing that you can do about that, correct?

      17              MR. YEE:   Correct.    If they truly have returned

      18   barrels to their rightful owners they wouldn't have those

      19   barrels, but they identified an Akai Thompson Sleeve barrel

      20   that failed.

      21              And I believe they produced a picture of it and the

      22   barrel completely exploded.       So I don't know if that barrel

      23   would have been returned.        It appears to me they would have

      24   held out on that because it appears that there were some tests

      25   done by KKM on that barrel.
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       1            THE COURT:    Okay.    Give me one second and then we can

       2   go on to the next one.    The next one is request number three.

       3   You are asking for communication regarding barrels that were

       4   returned.    And their response is?

       5            MR. YEE:    That they didn't save the test results, they

       6   didn't print them, or they didn't photograph them.

       7            THE COURT:    Right.   And then, at the very end, it says

       8   in proponent's position that KKM has searched its records for

       9   any communication and has no located any responsive documents.

      10               So if, in fact, that's the answer -- I mean, you can't

      11   get blood from a rock.    So if it doesn't exist, it doesn't

      12   exist.

      13            MR. YEE:    The concern with that, Your Honor, is

      14   Defendant SCI produced in their production and it is Bates

      15   labeled SCI 1838.     It is e-mails between Charles Bradley, who

      16   is the president of Shooters Connection, with Luke McIntyre who

      17   I understand is the president of KKM.

      18               Where they discussed a failed barrel belonging to a

      19   one Gerry Collatione (phonetic).      So this is an e-mail that is

      20   between Mr. Bradley McIntyre that exists and it was back in

      21   January 21st of 2020.    Shooters Connection has this e-mail, but

      22   yet KKM asserts that they have no communications relating to

      23   any out of spec barrels.

      24            THE COURT:    Right.   I think one of the answers that I

      25   saw later on is that they say Mr. McIntyre no longer has that
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       1   phone.

       2            MR. YEE:   Well, that's referring to a specific text

       3   message between Mr. McIntyre and a nonparty named Nathan Carter

       4   in December of 2019 before the lawsuit was filed and we wanted

       5   the whole text communication.

       6             And it is Mr. McIntyre's position that he no longer

       7   has that phone, but we find that response to be insincere

       8   because we discovered that in October of 2021 -- again, e-mail

       9   exchanges between Mr. Bradley and Mr. McIntyre.

      10             Mr. McIntyre provides that whole -- more than just

      11   that snippet that we attach as an exhibit to our complaint.          He

      12   attaches the communications with Mr. Carter to Mr. Bradley.          So

      13   as of October 21, Mr. McIntyre still had that communication

      14   stored somewhere.

      15             And not having the phone, Your Honor, if you have ever

      16   replaced your phone, you know that typically when you restart a

      17   new phone, most of your text messages and e-mails get pulled in

      18   from your old phone into the Cloud into your new phone.         So to

      19   simply say that I can't get them because I don't have the

      20   phone, I don't know that that's a sincere response.

      21             And quite frankly, Your Honor, back in July of 2020

      22   shortly after the lawsuit was filed and then moved to federal

      23   court, we sent notice to Mr. Robinson's office demanding that

      24   they preserve all evidence.     So for Mr. McIntyre to have gotten

      25   rid of the phone would be in violation of that notice to
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       1   preserve evidence.

       2             THE COURT:   All right.    I understand what you are

       3   saying.   However, just to be clear, because I think I saw this

       4   message that you refer to that was attached to an exhibit.         It

       5   was pretty hard to read, but I was able to make it out.         So you

       6   do have it, in any event?

       7             MR. YEE:   There's more to it.     That's just one of the

       8   texts in a chain of texts, correct.

       9             THE COURT:   But the text that you refer that was Mr.

      10   McIntyre, or whoever it was, you do have from SCI?

      11             MR. YEE:   Correct.

      12             THE COURT:   All right.    So those communications

      13   regarding barrels that were returned.

      14             The next one is request number 4; documents or

      15   communications regarding products that were recalled and then

      16   returned as a result of a recall.

      17             Their answer seems to be at the end of the day that

      18   they had never had a recall.

      19             You would agree with me that a recall is different

      20   than a customer return, correct?

      21             MR. YEE:   Correct.   We called it a recall because we

      22   were informed that other vendors that we identify such as Venom

      23   Custom and Keeley, who actually is not identified in the joint

      24   status report here, but we understand that those two entities,

      25   in fact, returned barrels to KKM and they were replaced.
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       1            THE COURT:    Right.   And that's a return.     And I think

       2   you called, among your requests, called it a return, but this

       3   one in particular uses recall.      Like, for example, Plaintiffs

       4   did a recall of its guns, correct?

       5            MR. YEE:    Correct.

       6            THE COURT:    Right.   So it seems to me that that could

       7   be part -- I mean, I think there is a difference between a

       8   return and a product that is recalled.       If a customer is

       9   returning a product because they are just dissatisfied for

      10   whatever reason, absent a recall, I don't necessarily think

      11   that falls within the ambit of this request.

      12               Would you agree with that?

      13            MR. YEE:    I would agree with that.

      14            THE COURT:    Okay.    So I'm going to highlight recall

      15   and then we'll talk some more with the Plaintiffs about that.

      16               Now in the second amended response, I just made a note

      17   of this, in the second amended response Defendant says there

      18   are none.    So if that's true, then there's very little else to

      19   do on this interrogatory, correct?

      20            MR. YEE:    Correct.

      21            THE COURT:    And obviously, I don't have a crystal ball

      22   and I can't put them under a polygraph if they're representing

      23   to the Court that they have never had any recalls, we're going

      24   to take them at their word.

      25               And if you find otherwise during discovery I am sure
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       1   they will be hearing about it either through a motion for

       2   sanctions, or through cross-examination, or whatever

       3   appropriate means, correct?

       4            MR. YEE:   Correct.

       5            THE COURT:    Now number 5, this one talks about test

       6   results of barrels that were returned, right?

       7            MR. YEE:   Correct.

       8            THE COURT:    And Defendant says that a test of the

       9   Venom Custom Guns was done, but there are no records and KKM to

      10   Venom Custom was oral.    So no documents exist.

      11            MR. YEE:   Right.    And as I asserted earlier, Your

      12   Honor, my understanding is that the machine that they use is

      13   connected to a computer that stores the results.

      14            THE COURT:    All right.    And we'll ask the Defendants

      15   about that.   I'm making a note about that.

      16             So they're saying they have no test results at all.

      17   The second part of the answer does seem unresponsive because

      18   you're not asking for the results of the test.        You're saying

      19   give me the test results.

      20            MR. YEE:   Correct.

      21            THE COURT:    Number 6, it goes back to recall products.

      22   Test results on products that were recalled.       If there are no

      23   recalls, then you're not getting any product; agreed?

      24            MR. YEE:   Agreed.

      25            THE COURT:    All right.    Let's go to number 7, all
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       1   tests.   This one is regardless of whether it is recalled or

       2   upon return for barrels from 1/1/10 to the present.

       3              Am I reading that correctly?

       4              MR. YEE:   That's correct.

       5              This the one that I talked about earlier where they

       6   provided a spreadsheet of a bunch of numbers, but there is no

       7   background information of what the barrels are.

       8              And the e-mail to KKM from the Nevada Heat Treat said

       9   the other documents are available upon request.        And this is

      10   what we talked about earlier that Mr. Robinson indicated that

      11   he would ask for, but yet we have not seen those.

      12              THE COURT:    Okay.   And that's the Nevada Heat test

      13   results?

      14              MR. YEE:   Correct.

      15              THE COURT:    Okay.

      16              MR. YEE:     They produced a spreadsheet of a bunch of

      17   numbers, but there is no corresponding documents to show what

      18   the barrels are.      It's just a bunch of numbers.

      19              THE COURT:    Based on what I read it seems to me that

      20   those numbers may correlate to them testing the steel bar

      21   stock; is that correct?

      22              MR. YEE:   Correct.   But as I mentioned earlier, it is

      23   our understanding through discovery documents that they

      24   purchased different grades of bar stock from two different

      25   manufacturers.
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       1            THE COURT:      Right.    Carpenter and the other one

       2   starting with an "O."      I forget what it is called.

       3               MR. YEE:   Yes.   Otocomfu (phonetic).

       4               THE COURT:   Yes.     Otocomfu.   That's a hard one to

       5   remember.

       6               All right.   But what you are saying is they provided

       7   the spreadsheet with numbers.        I'm thinking that's the bar

       8   stock.   And my recollection of what they said was that they

       9   tested the bar stock, but they didn't test the barrels once

      10   they were manufactured from the bar stock; is that correct?

      11            MR. YEE:      Correct.

      12            THE COURT:      But they did submit it to Nevada Heat

      13   Treatment for what, for the Rockwell hardness test, or am I

      14   getting confused?

      15               MR. YEE:   My understanding is that they only tested

      16   the bar stock, but once the bar stock was manufactured into

      17   barrels they were never tested again.

      18            THE COURT:      So what did Nevada Heat Treatment do?

      19            MR. YEE:      So they would heat treat the bar stock as it

      20   would come in from the field manufacturers and then they would

      21   heat treat it and then test it after it was heat treated and

      22   tempered.

      23            THE COURT:      And is that what resulted in the 42-RC

      24   (phonetic)?

      25            MR. YEE:      That's my understanding how they get to that
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       1   number.   But, again, it is my understanding based on their

       2   responses throughout the case that they then take that bar

       3   stock and manufacture it into barrels, but then they do not

       4   test the barrels again for hardness.

       5             THE COURT:    Right.    Okay.   But, in any event,

       6   Plaintiffs have agreed to request documents from Nevada Heat

       7   and will produce those documents.         So once we get a date at

       8   least that part of it --

       9 (Alarm sounded.)

      10             THE COURT:    -- would be resolved, correct?

      11             MR. YEE:     Correct.

      12             THE COURT:    Gosh, I underestimated the time it was

      13   going to take to do this.

      14             Number 10, request number 10, kind of the same thing.

      15   You're asking for communications with heat treating facilities.

      16             MR. YEE:   Correct.

      17             THE COURT:    So that's going to get taken care of.

      18             MR. YEE:   Yes.   And I believe 11 is the same.

      19             THE COURT:    So that will be mooted and so will 10 and

      20   17.   Well, as 17 has changed substantially because initially

      21   they were asserting the joint defense privilege or common

      22   interest privilege, but in their response to your motion they

      23   agreed to withdraw that based on a recent case U.S v. Patel

      24   because there were no attorneys involved in the communication.

      25   It was just co-conspirator to co-conspirator.
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       1             So have they provided those documents?

       2            MR. YEE:   They provided some, Your Honor.       The

       3   documents that they originally claimed the privilege on it was

       4   Bates labeled Dame, 1 through 15, but these are comments

       5   basically isolated to July 21st to July 22nd of 2020.

       6             So this was after the lawsuit was filed and removed to

       7   federal court, but none of what they produced contain any

       8   pre-suit communications.       We have from Shooters Connection,

       9   again communications between KKM and Shooters Connection

      10   regarding the barrel issue that date back to January 2020, but

      11   yet KKM has not produced any of those communications.

      12            THE COURT:    Okay.    Let's go to number 18,

      13   communications between KKM and any nonparty regarding Akai,

      14   Horowitz, or anything having to do with the steel, the type of

      15   steel in the barrel or the Rockwell hardness, correct?

      16            MR. YEE:   Correct.     And we touched upon this a little

      17   bit earlier, Your Honor.       This is the one where again it is

      18   KKM's position that Mr. McIntyre no longer has the phone, but

      19   it is our position that that phone, the messages would have

      20   still been pulled in or, you know, loaded into the new phone.

      21             And even if that didn't happen, the text messages are

      22   typically available from the cell carrier and they indicate

      23   that we don't have any of the texts because of the phone issue.

      24   The request itself asks for all communications and not just

      25   texts.
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       1             And so as I mentioned earlier, we have documents that

       2   were produced from Shooters Connection that shows that Mr.

       3   McIntyre and Mr. Bradley were e-mailing each other in October

       4   of 2021 regarding Mr. Nathan Carter's barrel.        And there's also

       5   documents showing that Mr. Bradley and Mr. McIntyre were

       6   e-mailing each other in January of 2020 regarding that barrel

       7   owned by Mr. Gerry Collatione, but KKM has not produced any of

       8   these e-mails or communications.

       9            THE COURT:    All right.    Thanks.

      10             Number 21, all documents and communications regarding

      11   returned barrel 1/1/17 through the present.       That seems to me

      12   to be identical to request for production number 3, no?

      13            MR. YEE:   This is basically a little different.

      14             We don't refer to the term recall here.       This is just

      15   returned barrels.     And so based on your point earlier, you drew

      16   a distinction between return barrels and recalled barrels.

      17   This one just talks about barrels returned.

      18            THE COURT:    Yes and number 3 only talks about return

      19   barrels as well.

      20            MR. YEE:   Right.

      21            THE COURT:    I mean, I think it's verbatim.

      22             Are you reading it or are you waiting for me to say

      23   something?

      24            MR. YEE:   I'm reading it, Your Honor.

      25            THE COURT:    Okay.
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       1            MR. YEE:    Yeah, it looks like 3 and 21 are the same.

       2   They just talk about return barrels.

       3            THE COURT:    Right.    They're identical.    So one of

       4   those is not going anywhere.

       5            MR. YEE:    Right.

       6            THE COURT:    Number 22 is asking for communications

       7   regarding replacement barrels by KKM after return.

       8            MR. YEE:    Right.    And this is what I mentioned earlier

       9   that we acknowledge that barrels were returned to KKM from

      10   nonparties Speed Shooters, and Venom Custom, and Keeley Custom

      11   and barrels were replaced.

      12            THE COURT:    Okay.    And did you get any e-mails at all

      13   from the Defendant; from Defendant KKM?

      14            MR. YEE:    No.   They produced an e-mail that related to

      15   a gentleman named Bill Baker, who I am not sure how he fits

      16   into the matter, but they have an e-mail exchange with a Bill

      17   Baker who had an issue with a barrel, but that's it.         There are

      18   no e-mails from KKM involving their communications with any of

      19   the other parties in this case.

      20            THE COURT:    Okay.    That seems to be a glaring omission

      21   in this age of electronic stored information.

      22             MR. YEE:    Yeah.    As I mentioned, Your Honor, they

      23   produced only 167 pages and only 71 of them contain any type of

      24   information that can be useful in any way.

      25            THE COURT:    All right.    Number 23, produce copies of
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       1   communications regarding customer complaints, regarding the two

       2   19/11 2011 barrels.

       3            MR. YEE:   Yes and this --

       4            THE COURT:    (Inaudible).

       5            MR. YEE:   Right.    And this is where, again, they say

       6   none.   But, yet, I mentioned that SCI Bates label 1838 and 1845

       7   deal with the gentlemen named Gerry Collatione, the e-mail

       8   exchanges between Mr. Bradley and Mr. McIntyre regarding his

       9   complaint.    And KKM says they have nothing, but yet, I have two

      10   pages here from SCI showing otherwise.

      11            THE COURT:    And also just to document in mind, you're

      12   talking it says any and all documents and communications.         That

      13   would also potentially include oral communications, correct?

      14            MR. YEE:   Correct.

      15            THE COURT:    25, produce copies of correspondence,

      16   communications published by KKM regarding the type of steel.

      17   For those two crystal barrels (phonetic).

      18             It says it will be produced and then in the second

      19   amended response on Page 13 of document entry 83, Defendant

      20   says that it produced KKM 18 through 29, 36 through 39, and 51

      21   through 69.

      22             Is that enough?    Is this now moot?     Is it resolved?

      23            MR. YEE:   No, Your Honor.

      24             Those documents that they are referring to are the

      25   certification certificates from the steel manufacturers
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       1   Otucomfu and Carpenter.

       2             So those are the certificate of tests from those two

       3   steel manufacturers certifying that the steel that was sold to

       4   the distributor Samuel Son and Company, who ultimately sold the

       5   steel to KKM, those certificates show that the steels were

       6   certified as grade 416 steel.

       7             This is not the information showing what KKM published

       8   to the public about what their steel is made from.        This is the

       9   information showing what the steel manufacturers provided.

      10            THE COURT:    All right.

      11            MR. YEE:   So in the Joint Status Report they are

      12   correct that they did provide the certification sheet, but

      13   we're asking for what did you publish.

      14             And as I mentioned earlier, their KKM production Bates

      15   labeled 72 to 167 are fragments of the KKM website, but the

      16   pages deal mostly with their frequently asked questions section

      17   of the website and it has nothing to do with their advertising

      18   and what they claim that the barrels are made of or what they

      19   told the public, at least.

      20            THE COURT:    Right.   And that seems to go to the heart

      21   of your case.

      22            MR. YEE:   Correct.

      23            THE COURT:    All right.    On number 26 of your

      24   allegations, I should say.      Number 26 website.

      25            MR. YEE:   26 then specifically asks what is the
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       1   information on your website.     And their response is that the

       2   website company that provided the information or hosted the

       3   website is no longer in business and they no longer can get it.

       4   But my experience with websites, Your Honor, my law firm has a

       5   we can cite.   We just, in fact, retained a new company to

       6   create our new website, but it is us at the law firm that

       7   provides the content to the website designer.

       8             And so for KKM to indicate that they don't have the

       9   different versions of the content of the website, I think is a

      10   little insincere in that the website designer doesn't know what

      11   product they sell and what the grades of steel and how to

      12   advertise them.

      13             KKM would have necessarily had to provide this content

      14   to the website host company.

      15            THE COURT:    Okay.   Thank you.

      16             And I think I (inaudible) the first motion.        Let me

      17   put this back where it belongs.      I'm trying to be organized

      18   here.

      19             Let's turn now to -- that was an easy motion.        95-1

      20   JSR and actually 95-2 and 95-3, I think, all relate to this.

      21   95 -1, 95-2 and 95-3.    Okay.   So let's do ECF number 86.      It

      22   took me a little bit to put these JSRs together with the

      23   respective motions.    So if I've made a mistake just let me

      24   know.

      25            MR. YEE:   Okay.
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       1            THE COURT:    ECF number 95-1, Pages 1 through 12, it's

       2   a joint status regarding Plaintiffs' second request for

       3   production to KKM and that one in particular is pretty simple.

       4   It's looking for purchase and sale records of BQ-5 steel and

       5   416-R steel.   And then, sales of barrels of KKM of the same

       6   BQ-5 steel and 416-R sale, correct?

       7            MR. YEE:   Correct.

       8            THE COURT:    Okay.   Now here, I noticed that you start

       9   with January 16th as opposed to your typical January 17th.         Is

      10   there any reason for that?

      11            MR. YEE:   I'm sorry.    Where are you referring to, Your

      12   Honor?

      13            THE COURT:    In the request for production number 1.

      14   I'm sorry.   I should have been more specific.       Your timeframe

      15   is January 2016 to the present.      Everywhere else I've seen

      16   January '17 to the present.

      17            MR. YEE:   I don't recall if that was specific or if

      18   that was a just a typo, Your Honor.

      19            THE COURT:    Okay.

      20            MR. YEE:   At the present that '16 date kind of escapes

      21   me.

      22            MR. FIATO:    Your Honor, this is Attorney Richard

      23   Fiato.

      24             That date was specifically used because of the data

      25   sheets that KKM provided, they showed the use of different
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       1   steels starting around that time.

       2              THE COURT:   Okay.   And how is that material?

       3              MR. FIATO:   We were looking for the sales information

       4   on the different types of barrels that they were selling from

       5   different steel from that time to show that they were using two

       6   different types of steel.

       7              THE COURT:   Okay.

       8              MR. FIATO:   And to whom they were selling it to.

       9              THE COURT:   All right.   Let me ask you a question.

      10              In 86, this is a general question, a macro question

      11   because I was confused on these JSRs and how they applied to

      12   the motion.    The motion at ECF number 96 alleges as well that

      13   the Defendant KKM failed to respond to the first request for

      14   admissions, but this particular JSR only deals with the second

      15   request.

      16              MR. YEE:   This is Attorney Yee, Your Honor.      That is

      17   correct.    Defendant KKM, they failed wholeheartedly to respond

      18   even to the first set which conclusively, I guess, established

      19   certain --

      20              THE COURT:   I'm sorry.   I misspoke.   I think 86 says

      21   that the Defendant failed to respond to the first request for

      22   production.    I'm talking about the request for production.

      23              I missed my request for production, but the JSR only

      24   deals with the second request for production.        Does this mean

      25   that they have now complied or responded to the first request
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       1   for production?

       2            MR. YEE:    No, Your Honor.

       3             In ECF 86 we do assert that KKM failed to respond to

       4   Plaintiffs' first request for admissions and interrogatories

       5   and that's on Page 3 at ECF.

       6            THE COURT:    They respond and not to you, correct?

       7            MR. YEE:    Correct.    To our knowledge KKM is not even

       8   asserting.    They never addressed it.    They never said we put

       9   the answers together and we have just never served it.         I don't

      10   know, Your Honor.

      11            THE COURT:    And that was on the request for

      12   admissions?

      13            MR. YEE:    Correct.

      14            THE COURT:    Okay.    I missed that.   All right.

      15            MR. YEE:    And that's part of what we point out in ECF

      16   86, Your Honor.     So I think they knew that they failed to

      17   respond to the first set.       So when they responded to our second

      18   request for admissions, they entitled their responses

      19   Defendants' response to Plaintiffs' dated April 12, 2022

      20   instead of the proper title of Plaintiffs' Request For

      21   Admissions dated April 12 of 2022 instead of the proper title

      22   of Plaintiffs' second Request For Admissions.

      23             THE COURT:    I read that, but I didn't see the import

      24   of the misnomer.

      25             Okay.    Oh, my goodness there is a lot going on here.
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       1            MR. YEE:    Yes, there is, Your Honor.

       2            THE COURT:    And first request for admission and we've

       3   got SCI and that was 2/7/22 getting served that provided

       4   unverified and then we'll get to that.

       5             Okay.    And what about I think you also say in 86 that

       6   KKM failed to respond to the interrogatories.        Is that still at

       7   issue also?

       8            MR. YEE:    Yes, that would be the first set of request

       9   for admission and interrogatories.      So our first set of

      10   admissions also has some interrogatories to some of the

      11   requests for admissions.       Not all of them and some of them they

      12   didn't answer either the request for admissions or the related

      13   interrogatories.

      14            THE COURT:    Okay.    Number 2, sales -- okay.

      15   Fortunately I don't have any questions on that.

      16             Purchase of the BQ-5 steel.      Now here you go back to

      17   2010.   Why in request 23?

      18            MR. YEE:    I believe based again as Attorney Fiato

      19   mentioned, Your Honor, through some of the documents that we

      20   did receive from KKM's production, they indicated some of the

      21   certifications of the tests showing barrels purchased as far

      22   back as 2010.

      23            THE COURT:    Okay.

      24            MR. FIATO:    And Your Honor this is Attorney Richard

      25   Fiato again.    And the other thing is what they did produce,
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       1   they didn't produce anything from 2010 until 2014.        They

       2   produced one cert or one data sheet of testing.        And then, they

       3   produced from 15 on after that and there were two different

       4   types of steel.

       5            THE COURT:    Right.   So you want stuff from 2014?

       6            MR. YEE:    2010.

       7            THE COURT:    2010 to 2014.

       8            MR. YEE:    2010 to present, Your Honor.      This is

       9   Attorney Yee.

      10            THE COURT:    Right.   I'm a little confused because

      11   what's the difference whether they bought other kinds of steel?

      12   I'm sure they are entitled to buy whatever steel they want.

      13   Isn't the issue in this case whether or not they used the steel

      14   that you expected that they use in your pistol barrels?

      15             MR. YEE:    The relevance, Your Honor, is we believe

      16   that they have changed the different types of steel over the

      17   years, but they have always maintained that it was the same.

      18   But the records will show that they have changed different

      19   types.

      20            THE COURT:    All right.    Let's go on to the next sub

      21   part of 95-2 the request for production.       Let's go to 95-2 and

      22   that is Plaintiffs' motion to compel third request for

      23   production of KKM.

      24             Okay.   And again, this deals with the steel.       For

      25   request number 2 you want sales records of barrels that were
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       1   not made from 416-R.    So you want a negative.

       2            MR. YEE:    Correct.   And the issue here, Your Honor, is

       3   they have now changed the narrative.      The issue in this case

       4   is, as you pointed out early on, is that Defendant KKM have

       5   asserted from the very beginning pre-litigation.        And early on

       6   part of the litigation that all of the barrels are made from a

       7   416-R gun barrel quality steel.

       8             And through discovery they produced the testing

       9   protocol document that for the first time it was never

      10   mentioned in their answer for affirmative defenses.        It was

      11   never answered mentioned public letter that they published back

      12   in January of 2020.

      13             But in discovery they produced a document showing a

      14   testing procedure for what is considered a 416 restricted steel

      15   which no one has ever heard of.      As you can see in the Joint

      16   Status Report, they are indicating that the R that they are

      17   referring to stands for restricted which is the first time

      18   we've heard of it.

      19             But as you can see, Your Honor, we attached as part of

      20   the Joint Status Report, a declaration from one of the steel

      21   manufacturers, the Otucomfu specifically that indicate in that

      22   declaration that they sold 416 steel.      Not 416-R and not 416

      23   restricted.

      24             And anything to the contrary would be false or

      25   misleading and absolutely untrue and that's why we're asking
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       1   for accurate answers here.      You know, Defendants might not like

       2   it, but the steel manufacturer says that the steel is 416 and

       3   not 416-R or 416 restricted.

       4            THE COURT:    Right.   Except these are not

       5   interrogatories.    So they either have the documents that you

       6   want or they don't.

       7            MR. YEE:   Right.    But their answer is that all of our

       8   steel is 416-R, which we know from the declaration and the

       9   document they produced that it was not.

      10            THE COURT:    You know it is funny that you mentioned

      11   that.   I was going to save this for last because I think this

      12   is the overarching issue and these requests when we get down to

      13   the nitty-gritty, your position is exactly that.        That 416-R is

      14   a specific type of steel, I take it, and different from 416; is

      15   that correct?

      16            MR. YEE:   Correct.

      17            THE COURT:    Defendant is saying it's not.

      18             You know, they have specifications which makes the 416

      19   that they bought restricted and you may disagree with their

      20   nomenclature, but that's your problem.       That's what they are

      21   saying, right?

      22            MR. YEE:   That's what they are saying, but in light of

      23   the declaration from the steel manufacturer, itself, that said

      24   that it is 416, I don't know how you --

      25            THE COURT:    Isn't this, at the end of the day, truly
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       1   an issue that is going to go to the trier of fact to determine?

       2            MR. YEE:   Ultimately, yes, Your Honor.

       3            THE COURT:    As opposed to trying to prove your case

       4   through a request for production or an interrogatory, they're

       5   going to live or die by their answers.       I can't make them say

       6   what you want them to say, but they are going to live with

       7   their answers.

       8             Isn't that correct?

       9            MR. YEE:   That's correct.

      10             We're just looking for obviously discovery is to

      11   ensure that the parties are not taken by surprise in the

      12   documents they produce.

      13             It is just our position, as you can see in the motion,

      14   the overall theme is that there are many inconsistencies from

      15   the answers to the complaint, from discovery answer to

      16   discovery answer and it is just a moving target.        And that's

      17   why we felt it necessary to bring it to the Court's attention.

      18             I agree with you that the ultimate issue is probably

      19   for the trier of fact, but when you are dealing with this

      20   through discovery and trying to narrow the issues it makes it

      21   difficult when the target is always moving.

      22            THE COURT:    I understand that.

      23             All right.   It doesn't make it easier to rule on

      24   these, but I understand the issues.

      25             Next request for number 7, you are looking for studies
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       1   that the Defendant may have seen or relied on regarding BQ-5

       2   steel as being appropriate for the 1911 barrel.

       3             Plaintiffs say it didn't use any.       What more do you

       4   want?   It said that it did not obtain or create any studies.

       5            MR. YEE:   Right.    And they also respond in their

       6   motion saying -- and this is where we took issue with it and

       7   why we needed to bring it to the Court's attention is that they

       8   now assert that they didn't start first using BQ-5 until 2020.

       9             Specifically, I think they're claiming that they

      10   didn't start using BQ-5 steel until August of 2020.        But, yet,

      11   in their answer to Plaintiffs' first amended complaint,

      12   Paragraph 65, that's that text discussion between Mr. McIntyre

      13   and Mr. Carter.

      14             Mr. McIntyre indicates that one of the barrels that we

      15   sell as a BQ-5 barrel, but because you didn't buy directly from

      16   us we don't know which one you got.      So this is a conversation

      17   that happened in 2019, which confirms that they were using BQ-5

      18   prior to 2020.    And then, we also have in their open letter

      19   that they published to the public in a January 9, 2020, letter

      20   that references a BQ-5 steel.

      21             So in January 2020 they're saying that they have a

      22   BQ-5 steel.   But, yet, in their response to the motion and

      23   response to discovery they are saying we didn't start using

      24   BQ-5 until midway through 2020.      That's an inconsistency.

      25   Again, it is a lot like the 416-R issue, but yet again it is
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       1   another moving target.

       2            MR. FIATO:    Your Honor, this is Attorney Richard

       3   Fiato.

       4             The last piece of that there is also SCI manager was

       5   communicating with a Michael Dame and we have those text

       6   messages by way of discovery through Mr. Dame, in which he says

       7   that if you are purchasing barrels directly from KKM they are,

       8   what he calls, 416-R.    But if you are buying them through

       9   vendors or KKM's dealers, it's 99 percent chance you are

      10   getting BQ products.

      11             MR. YEE:    And this is Attorney Yee, Your Honor.       That

      12   communication was Exhibit 5 to -- I forget exact which one --

      13            THE COURT:    I've read all of those and I am glad that

      14   you referenced those e-mails a couple of times in different

      15   motions and I read them.

      16             But, quite frankly, well -- I don't want to argue the

      17   Defense side, but I see other interpretations to those that if

      18   you are getting it from me I know I'm giving you 416, but if

      19   you are getting it from somewhere else who buys other vendor's

      20   products, you may be getting BQ-5.

      21             I mean, that's one interpretation and the same thing

      22   goes for the e-mail.    I don't know what, you know, I don't know

      23   what you have .   It could be one or it could be the other.        It

      24   doesn't necessarily mean I saw both.      It means I don't know,

      25   but again I --
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       1            MR. YEE:    The point is, Your Honor -- this is Attorney

       2   Yee -- the point is that the communication was from

       3   December 19th between Mr. Bliger (phonetic) and Mr. Dame.

       4   Again, this is 2019.

       5               KKM's answer to discovery is saying that they didn't

       6   start using BQ-5 until midway through 2020.        But, yet, Mr.

       7   Bliger was of the knowledge that they were getting BQ-5 barrels

       8   from KKM in 2019.

       9            THE COURT:      Okay.

      10            MR. YEE:    That's the relevance of it.

      11            THE COURT:      Right.    I mean, I understand the issue.    I

      12   just don't see how you are going to get to nail them down on

      13   any of that stuff through this discovery, to be honest with

      14   you.   Their answers, I keep saying this because they're going

      15   to live or die with their answers.        I can't make them say what

      16   you want them to say.

      17               All right.   Let's go to -- I think that's it for that

      18   one.   Let's go to the next which is 95-3, Joint Status Report

      19   on Plaintiffs' motion to compel accurate answers to Plaintiffs'

      20   second request for admissions.

      21            MR. YEE:    Right.      And this is what we have already

      22   talked about, Your Honor.         This is Attorney Yee.

      23               This is the whole issue with the declaration from

      24   Otucomfu.    You've already indicated that obviously you can't

      25   make them say what we want them to say, but the primary dispute
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       1   with the second set of requests for admissions to KKM in that

       2   is that they are changing the narrative to say that the R

       3   stands for restricted.    But, yet, the manufacturer of steel,

       4   itself, says it is just 416.

       5             I think you have already addressed that indicating

       6   that, you know, they live and die by their answers.

       7            THE COURT:    All right.    And here they've denied.     It

       8   is not like they equivocated.       They've denied.   So you're going

       9   to do with that at trial what you're going to do with that at

      10   trial.

      11            MR. YEE:    Right.

      12            THE COURT:    And then request number 10 is the same

      13   pretty much, denied.

      14             Okay.   Give me one second.

      15             MR. YEE:    And I don't know if you want me to make a --

      16   this is attorney Yee.    I don't know if you want me to make a

      17   statement now, or we could save it for rebuttal.

      18             But, again, if you take a step back and realize that

      19   part of our argument in ECF 86 is that because KKM failed to

      20   respond to Plaintiffs' first request for admissions, which

      21   asked them to admit that BQ-5 steel is not 416-R that the steel

      22   is not -- that if that's the case, then that they sold BQ-5

      23   prior, you know, to 2020 because they failed to answer those, a

      24   lot of the followup questions in the second request for

      25   admissions kind of built on those.
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       1             So because they failed to answer the first set that's

       2   why we felt strongly that a lot of it was really conclusively

       3   established.    So when they answer a second set, for them to

       4   deny and come up with this 416 restricted narrative, it kind of

       5   is counterintuitive or a moving target on the first set that

       6   should already be deemed admitted because they failed to

       7   respond to those altogether.

       8            THE COURT:    Right.   I'm glad you brought it up.      Hold

       9   that thought.   We'll talk some more about it in rebuttal after

      10   I have a chance to speak to KKM.

      11            MR. YEE:    Okay.

      12            THE COURT:    All right.    Let's turn to the last of

      13   Plaintiffs' motion, which is reflected in the Joint Status

      14   Report at 95-4.     And this one is Plaintiffs' motion to deem

      15   matters admitted or -- and this is in reference to the second

      16   request for admissions as to SCI, correct?

      17            MR. YEE:    Correct.

      18            THE COURT:    The first request of what I have is at 88,

      19   you said number 8.    I've got Defendant SCI's motion for relief

      20   from your claim, which I guess is brought up in your ECF number

      21   86.

      22             In passing, quite frankly, it's a little line on Page

      23   13 that says: KKM dealers were made using, blah, blah, blah,

      24   Defendant SCI has similarly failed to respond to the

      25   Plaintiffs' first request for admissions and interrogatories
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       1   and these things are admitted.      That's the extent of your

       2   argument, correct?

       3            MR. YEE:    We make reference to that in a motion, but

       4   that's the subject of SCI's motion for relief from the

       5   technical admissions, which is ECF 88.

       6            THE COURT:    But you don't have a separate motion in

       7   that.   It is included on ECF 86 and it's on Page 3, that line

       8   that I just read.

       9            MR. YEE:    Correct.    ECF 90, which is our last motion

      10   deals with SCI's answer to our second set of request for

      11   admissions.

      12            THE COURT:    Correct.    Which is where we are going now.

      13            MR. YEE:    Correct.

      14            THE COURT:    The firs is that.     And then, in response

      15   SCI to that line, I think ECF 86, SCI filed I think ECF 88,

      16   which is a request for relief from Plaintiffs' claim of

      17   technical admission.

      18            MR. YEE:    Correct.

      19            THE COURT:    Okeydokey.    I'm going to put together a

      20   jigsaw puzzle of these motions.

      21             All right.   Now let's turn to the Plaintiffs' last

      22   motion 95-4, motion to deem matters admitted.        Second request

      23   for admission to Defendant Shooters.       Now, again, we've got

      24   amended to those requests in which they deny.

      25             MR. YEE:    Right.    And this is the same argument -- I'm
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       1   sorry, Your Honor.

       2             THE COURT:   I'm sorry.    So they deny those.     I didn't

       3   count them, but there must be a good dozen or so.        All the even

       4   numbers all the way up to 50.

       5             MR. YEE:   Right.

       6             THE COURT:   They deny those.

       7             And then for 52, 55, and 56 they said they've a made a

       8   reasonable inquiry and I will certainly talk to them about the

       9   reasonableness and what inquiries.

      10             But, in fact, if they have made a reasonable inquiry

      11   and can't find anything that would be an appropriate answer.

      12   And as to number 53 for the boilerplate objection that I will

      13   probably strike they admitted.      So in terms of the first even

      14   number than 53, they've pretty much responded with an admission

      15   and a denial.   So as to those you know what my answer is going.

      16             MR. YEE:   Right.

      17             THE COURT:   Now, let's talk about -- give me one

      18   moment.

      19             As to 52, 55, and 56, let's talk about those because

      20   that's where there may be some wiggle room.

      21             MR. YEE:   Here, Your Honor, we're looking for the

      22   website information from Shooters Connection, SCI, because we

      23   saw at one point in time they advertised on their website their

      24   advertising related to KKM barrels.

      25             At one time it advertised the greatest steel that was
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       1   used and the Rockwell hardness and then there is another

       2   version of the same website that did not show any reference to

       3   the greatest steel and/or the Rockwell hardness.

       4              THE COURT:   Right.

       5              MR. YEE:   All SCI indicates is that they made a

       6   reasonable inquiry.     They don't indicate what inquiry they made

       7   and they said they simply don't have previous copies and I

       8   addressed this earlier even with KKM.

       9               SCI president Charles Bradley testified at deposition

      10   last week that they hired a gentlemen out of Florida to create

      11   the website and that he and his sister, Mr. Bradley's sister,

      12   are the ones that typically put information up there on the

      13   website.

      14               So again, they control the content and they claim that

      15   they don't have that information that they've claimed they get

      16   it directly from KKM.     But one important thing to note is Mr.

      17   Bradley admitted during deposition that he never contacted the

      18   gentlemen from Florida who created the website to see from a

      19   technical standpoint if there is a way to go back and get prior

      20   versions.

      21               I mean, he never even made that phone call.      He just

      22   indicated that between he and his sister, he just assumed that

      23   they couldn't retrieve it, but never even contacted the

      24   website.

      25              THE COURT:   Funny you should say that because one of
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       1   the questions that I have for Defendant, which I wrote down in

       2   my notes, is has SCI contacted third party web administrator

       3   designer to determine if previous versions of the SCI web page

       4   can be retrieved.

       5            MR. YEE:   Right.     And Mr. Bradley indicated at

       6   deposition last week that he had not.

       7            THE COURT:    Okay.   All right.    So we'll talk some more

       8   about that and then 53 we talked about.

       9             Okay.   So I think that's it for your motions.       Why

      10   don't I hear you briefly.      I think I will be more efficient a

      11   little bit out of turn, but just respond to 80 to 88, which is

      12   SCI's motion for relief from admission as to their request for

      13   admission number 1.

      14             Who is this?

      15            MR. YEE:   So brief response, Your Honor, is that you

      16   can see in SCI's motion they admit that they did not properly

      17   serve the responses to Plaintiffs' first request for admissions

      18   to SCI and indicate that it is just an administrative clerical

      19   error that they were not served.

      20             But it is our, position, Your Honor, if you look

      21   closely at the e-mail that was sent by the assistant at, I

      22   believe it is Mr. Chiocca's office.      There's another attorney

      23   in the case that is no longer with the firm.

      24             But you can see in the e-mail they reference please

      25   see attached responses to Plaintiffs' first request for
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       1   admissions and unverified interrogatories, which indicates or

       2   implies that the responses were not even complete.

       3              THE COURT:   And I don't actually have that e-mail.

       4   Hold on.    Let me see if I have that.    I'm going to see if you

       5   attached it.    Did you attach it?    I'm looking at Plaintiffs' --

       6   I'm sorry.    Defendants motion 88.    They attached the affidavit

       7   of Melissa Benson in an e-mail.      Let's see what it says.

       8              And she finds the service of documents on Defendants'

       9   Shooters Connection as to (inaudible)'s request unverified

      10   interrogatories.      I see it.   I do have it.

      11              MR. YEE:   So, it is our position that it appears to be

      12   an internal e-mail amongst Defense counsel to finalize the

      13   responses and then obviously properly serve them, but that was

      14   never done.

      15              And so, they are standing behind that e-mail as proof

      16   that they completed the answers and served them on Plaintiffs'

      17   counsel.    But, yet, they admitted when I pointed out to them if

      18   you look at the e-mail chain, neither Mr. Fiato or I were

      19   included in that e-mail and, therefore, they were not served.

      20              And so, they were deemed admitted.      And if you look

      21   closely at the e-mail, that e-mail was sent by Miss Benson to

      22   no less than five attorneys; four of which represent Shooters

      23   Connection.

      24              So there are different firms here, Your Honor, that

      25   are currently representing SCI and no one diligently or
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       1   promptly directed that the responses be finalized and be served

       2   on either myself or a Mr. Fiato and so --

       3            THE COURT:    I get that and I see, you know, based on

       4   what I've read in your response it sounds like the responses in

       5   the first request for admission are different than the

       6   responses -- if I were to deem them --

       7            MR. YEE:   Right.

       8            THE COURT:    Verifiable.

       9             They are different from, again, the request for the

      10   admissions and second request for admissions.        I get it.

      11   Doesn't that ultimately inure to your benefit in terms of a

      12   trial tactic?

      13            MR. YEE:   Yeah, ultimately I think it would, Your

      14   Honor.

      15            THE COURT:    So, like, in terms of the prejudice, if I

      16   were to deem that these admissions, that the first request for

      17   admission will be deemed served because there is no real

      18   prejudice to you.     I think the prejudice is to them because

      19   they have two very different responses.

      20             Would you agree with that statement?

      21            MR. YEE:   I would agree.

      22            THE COURT:    Okay.   I don't think they get a do-over.

      23   That's not going to happen.       So the best they could hope for

      24   today is that they would be deemed served.

      25             All right.    Thanks.    Let me talk to them.    Obviously
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       1   this went way longer than 20 minutes.         Did we really go on for

       2   an hour and 25 minutes?

       3              MR. YEE:    It appears so, Your Honor.

       4              THE COURT:   Holy-moly.    Okay.

       5              MR. FIATO:   We did, Your Honor.     We did.

       6              THE COURT:   That's a lot.

       7              Okay.   So let me turn now to the Defense and I'll set

       8   the timer for 20 minutes.      I'm just kidding.    I'm just kidding,

       9   fellows.

      10              And who is going to be responding, Mr. Mari or Mr.

      11   Benford?

      12              MR. MARI:    This is Nicolas Mari.

      13              I will be responding on behalf of KKM.         I don't know

      14   what order that the Court would like to hear from us.

      15              THE COURT:   We're going to do it exactly the same as

      16   we did with Mr. Yee.      And I have lots of questions for you as

      17   well.   So I totally underestimated my verbosity.

      18              MR. MARI:    No problem.   I'm happy to answer them.

      19              THE COURT:   Let's start with ECF number 95, Pages 1

      20   through 18.    That's the Joint Status Report for the parties

      21   regarding Plaintiffs' personal (inaudible) and Plaintiffs'

      22   first request for production for KKM.

      23              And you know, why don't we kind of go through the way

      24   we did, the way I did with Mr. Yee.       I think it is best for me

      25   to discuss these substantive (inaudible).
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       1              Starting with request number 1, this deals with the

       2   (inaudible) barrels that were returned.

       3              Let me get my highlighter?

       4              Now, I think we may have a resolution on this one,

       5   correct me if I'm wrong, but according to my conversation with

       6   Mr. Yee, this could be resolved by the actual implementation of

       7   the joint testing protocol and your production if you still

       8   have it of the Akai Thompson Sleeved failed barrel.

       9              MR. MARI:    So that is correct, Your Honor.

      10              With the only thing that I believe Mr. Yee agrees as

      11   well, we would want a mutual exchange, which has been what the

      12   parties discussed.

      13              The Plaintiffs are still in possession of some KKM

      14   barrels.    And back and forth we've talked about a joint testing

      15   protocol to exchange the barrels that are in the respective

      16   parties' possessions.      So we're not opposed to that.     We, in

      17   fact, been in agreement --

      18              THE COURT:   What gets me about this motion and about

      19   you guys is that you sound perfectly reasonable and you agree

      20   to these things, but then you don't execute them.

      21              What's the point of that?

      22              MR. MARI:    Well, all I can say, Your Honor, is that we

      23   have never received any draft from the Plaintiffs.        I can't

      24   speculate to what the reason why this hasn't been completed,

      25   but we are in agreement with the joint testing protocol.         We
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       1   would like to test the barrels that they have and they say they

       2   would like to test the barrels that we have.

       3             So it's not even really a matter of disputed language

       4   at this point.   There just hasn't been execution on either side

       5   to get that protocol finalized.

       6             THE COURT:   Okay.   Well, we'll work on that because I

       7   think if we do that and you turn over the Akai Thompson Sleeved

       8   failed barrel, this is resolved.

       9             MR. MARI:    KKM agrees, Your Honor.

      10             THE COURT:   Okay.   Let's go to request number 3,

      11   communications regarding barrel returns.

      12             MR. MARI:    Yes, Your Honor.

      13             A couple of points and this is going to apply to the

      14   multiple requests here, but there were -- and we've put this in

      15   our response to the motion to compel.      There were some barrels

      16   that were returned.     Not recalled, as Your Honor correctly

      17   pointed out, because our position is there has never been a

      18   recall.

      19             So for those answers we simply responded none, but for

      20   these that are asking for barrels that were returned, we

      21   explained that barrels were tested and there was no print, or

      22   pictures, or otherwise preservation of the results of those

      23   barrels and then once they were tested they were returned to

      24   the customers.

      25             So, ultimately, the answer there is at the end that we
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       1   searched and we have nothing responsive other than what has

       2   been produced indicated with the Bates stamps in our response.

       3   So we take aim that we don't have it.      And Your Honor correctly

       4   pointed out we can't be compelled to produce something that we

       5   don't have.   If they don't like that answer, that's their

       6   prerogative but --

       7             THE COURT:   Well, right now let me back you up, Mr.

       8   Mari.

       9             MR. MARI:    Sure.

      10             THE COURT:   The question is produce documents and

      11   communications in any way related to KKM barrels returned to

      12   KKM.    Your answer is totally unresponsive.     It says all KKM

      13   manufacturers of barrels have been tested and are within

      14   specification blah, blah, blah.

      15              Isn't the answer we don't have any or we do?

      16              MR. MARI:   And that was clarified in our response to

      17   the motion to compel and also in the joint statement is that

      18   there are no physical results.

      19              Plaintiffs have said it is their opinion that they may

      20   be saved on a computer, but that is unverified and that's

      21   Plaintiffs' speculation.       There is no evidence before the Court

      22   that there is data saved on a computer that KKM is withholding.

      23             THE COURT:   I'm sorry.    Hold on, Mr. Mari, but this

      24   particular request does not ask you for test results.         It asks

      25   you for any communications related to barrels that were
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       1   returned to KKM between January 2017 and the present.

       2            MR. MARI:    And I think that bleeds into some of the

       3   later requests asking for text messages and the like.         What KKM

       4   has responded is that we don't have those in our possession

       5   anymore and, ultimately, that is the response.        And I think one

       6   of the main issues in this situation is that no one from KKM

       7   has been deposed yet.

       8             So to the extent that there is a question about the

       9   sufficiency about the searches or how certain things were

      10   available at some point, but no longer are, there may be very

      11   reasonable explanations to that that haven't been explored

      12   through discovery.

      13             And frankly, KKM's representative and owner I think

      14   would be able to answer those questions at a deposition.         But

      15   the answer to this response -- and I will be happy to amend it

      16   formally if we need to, but what we have said here and is our

      17   position is that there is nothing responsive to this.

      18             And one comment that the Court made earlier during the

      19   Plaintiffs' presentation about the digital age.        Just for some

      20   context from what I understand this industry, which is a

      21   specialized industry and particular KKM operates largely over

      22   the telephone.

      23             It is not like, you know, what we're used to in the

      24   legal industry where everything is documented by e-mail.         My

      25   understanding in that the folks at KKM, they pick up the phone,
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       1   they relay the test results, and they take orders by phone.

       2             So this is not a document extensive industry.        Whether

       3   that is good or bad, that is not for me to opine on, but for

       4   purposes of discovery and document production, this isn't a

       5   situation where everything is exchanged by e-mail and by formal

       6   letters, et cetera.    A lot of it is done orally over the phone.

       7            THE COURT:    But has anyone at KKM done any kind of

       8   search on its computers to see what's in there?

       9            MR. MARI:    Yes, Your Honor.

      10             And I spoke to my client yesterday and they did key

      11   word searches for the various parties and nonparties' names

      12   that appear throughout these request in the pleadings and

      13   anything that has come up has been produced.       They have done

      14   searches for specific e-mail addresses associated again with

      15   the parties and nonparties.

      16             So other than that that's KKM's response and to the

      17   extent that, again, Plaintiffs don't like it, we don't have

      18   anything more than that.

      19            THE COURT:    All right.    Let's go to the Plaintiffs

      20   says that it's got documents from SCI showing that KKM provided

      21   test reports on barrels returned to KKM by Venom through SCI.

      22   Where are these documents and what have you done to find these

      23   documents, if anything?

      24            MR. MARI:    Your Honor, we have had the owner search

      25   for key word search for Venom Custom and Nevada Heat Treating
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       1   and there is nothing responsive within their possession or

       2   control.    And that is one of the things that came up a couple

       3   of times is Nevada Heat Treating and that is not a company that

       4   is affiliated, or a sister company, or a parent company, or

       5   anything like that with respect to KKM.

       6              So I'm getting a little bit ahead of myself here, but

       7   for these nonparties, I don't see how KKM can be compelled to

       8   produce things that are in the possession of a nonparty.

       9              As a professional courtesy, they have reached out to

      10   Nevada Heat and I can represent to the Court that that has

      11   already happened.       They previously asked for these documents

      12   that Nevada Heat may have in its possession.       And as of a

      13   yesterday, Nevada Heat had not produced anything.

      14              Another thing I will point out is that the Plaintiffs

      15   subpoenaed these nonparties, Nevada Heat, Venom Custom back in

      16   February of this year.      So to the extent that they are seeking

      17   to compel documents for these nonparties, it seems that their

      18   efforts should be directed at Nevada Heat and Venom Custom as

      19   opposed to KKM.

      20              THE COURT:    But it sounds like they're already doing

      21   that based on what we just said.

      22              MR. MARI:    Well, they subpoenaed them back in

      23   February, but it has been five months.       And they are saying

      24   they haven't gotten any documents from Nevada Heat or Venom

      25   Custom.    The proper mechanism would be to move to compel them
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       1   and not moving to compel KKM.

       2            THE COURT:    All right.    Let's go to request number 4.

       3   These are communications or documents regarding any recall.

       4            MR. MARI:    And it is KKM's position that it has never

       5   had a recall.   So there is nothing responsive.

       6            THE COURT:    And I think in your second amended

       7   response you said none, correct?

       8            MR. MARI:    Correct.   And throughout all of our

       9   position statements.

      10            THE COURT:    Okay.   Next we've got number 5, test

      11   results of barrels unreturned.

      12            MR. MARI:    And that goes to my previous point that

      13   we've responded there are none.      Any barrels that we had that

      14   were sent back were tested and returned to the customers.

      15             We don't even have the ability to test them today.

      16   Other than the ones with the caveat of the ones for the Akai,

      17   the ones that we do still have in our possession.        But,

      18   otherwise, there is no documentation of test results for the

      19   barrels that were returned to -- or were sent to KKM and then

      20   returned to the customers.

      21            THE COURT:    What about this innovating test machine

      22   and its capacity to be connected with a computer so that the

      23   results would be saved?

      24            MR. MARI:    So, again, I think that's something that

      25   should be bore out more through discovery, but my understanding
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       1   -- or I should say I don't have any information to say

       2   otherwise.   But I have to assume that was explored upon these

       3   requests because if there is a computer storing that that would

       4   be responsive.   But, ultimately, we've said that we do not have

       5   them.

       6             So, again, I think this is something -- this is why I

       7   think some of these requests and these issues before the Court

       8   are a little premature because KKM's representative or owner

       9   could answer these questions during a deposition, but as of

      10   now --

      11            THE COURT:    That may well be true, Mr. Mari, but

      12   certainly I'm not in a position to direct.       Just like I can't

      13   make you deny or admit your answers.      I am not in a position to

      14   direct the Plaintiffs to use the discovery tools in any

      15   particular order.

      16             And these requests for production, just like a

      17   deposition, you know, are a discovery device and it puts the

      18   burden on your client to search their computers and their

      19   records for the documents that they are requesting.

      20             So if, in fact, the innovating testing machine has the

      21   capacity to be connected to a computer and these documents

      22   exist, it inclines the possibility to produce them.

      23            MR. MARI:    And I don't disagree with that, Your Honor.

      24   But ultimately, though, our answer is none.       And like the Court

      25   pointed out, KKM lives and dies by its answers.        So we have
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       1   responded in the affirmative that there are not.        To the extent

       2   that there is anything that we need to supplement our answer

       3   with, we will do that accordingly, but as of now we have

       4   responded none.

       5              THE COURT:   Okay.   Next test results on any barrel

       6   that you have recalled.

       7              MR. MARI:    And again, this is the recall issue that

       8   KKM's position is that there was no recall.       So we responded

       9   none.

      10              THE COURT:   Okay.   Number 7, all tests regardless of

      11   whether it is done, recall, or return product from 1/10 to the

      12   present.

      13              MR. MARI:    Correct.   And a lot of KKM's position is

      14   similar that there are no test results and this is the answer

      15   that gets into Nevada Heat.

      16              And as I mentioned, KKM has requested that Nevada Heat

      17   provide that information, but KKM cannot compel Nevada Heat

      18   itself.    It has no control or authority over Nevada Heat to

      19   provide these documents.

      20              So I think this is, frankly, an issue between the

      21   Plaintiffs and Nevada Heat to the extent they feel Nevada Heat

      22   has failed to respond to their subpoena from February.

      23              That said, if we do receive anything from Nevada Heat,

      24   we have agreed to produce it and we will, but as of -- I will

      25   represent to the Court that as of yesterday, KKM had not
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       1   received anything.

       2            THE COURT:    Next is number 10 communications with heat

       3   treating facility.    I think we will both agree that will be

       4   mooted with Nevada Heat.

       5            MR. MARI:    Well, to the extent Nevada Heat responds to

       6   KKM, yes, Your Honor, I would agree that is a mooted issue, but

       7   to the extent that the Court is inclined to compel KKM, I'm not

       8   sure what KKM has within its power or authority to force Nevada

       9   Heat, itself, to respond.       So it was the same issue that we

      10   were talking about before.

      11            THE COURT:    Right.    I think we're going to assume good

      12   faith here on the part of everybody including Nevada Heat.         And

      13   your request from one end, coupled with Plaintiffs' subpoena on

      14   the other hand.   So hopefully we will get some resolution on

      15   that.

      16            MR. MARI:    Like I said, Your Honor, if we receive

      17   anything from Nevada Heat we will produce it.

      18            THE COURT:    Communication with heat treating processes

      19   and procedures.

      20            MR. MARI:    And this is the Nevada Heat issue again as

      21   well.

      22            THE COURT:    Okay.    Number 17, you are going to provide

      23   those records, 1 through 15, if you haven't already.

      24            MR. MARI:    I'm sorry, Your Honor .     1 through 15?

      25            THE COURT:    Those are the items on the privilege log
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       1   that you had previously withheld based on the joint defense or

       2   common interest doctrine.

       3            MR. MARI:    Those have been produced.

       4            THE COURT:    All right.    My next question on that is

       5   what about pre-suit communication between the parties?

       6            MR. MARI:    I would agree that is encompassed in there

       7   in this request and KKM's responses that it is not in

       8   possession of anything that has not been produced.

       9             I know Plaintiffs' counsel has said that it has

      10   received internal communication from parties of other sources.

      11   That doesn't necessarily mean that KKM has it in its

      12   possession.   So I'm not saying that it doesn't exist that there

      13   was no communication.

      14             I'm saying that KKM is representing that it does not

      15   have anything in its possession or control at this time.         The

      16   only other thing on this request, Your Honor, and I wasn't sure

      17   based on the Plaintiffs' presentation, to the extent they are

      18   seeking any communication amongst the parties where the

      19   attorneys were present, we would maintain our objections

      20   obviously to that.

      21            THE COURT:    And if there are any such communications

      22   with attorneys and it is attorney/client privilege, then the

      23   right thing to do is to produce a privilege log that would

      24   identify those documents so that the other side at least knows

      25   that those documents exist.
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       1              MR. MARI:    Correct, Your Honor.

       2              THE COURT:   And challenge the designation if they feel

       3   that it is inappropriately classified as privileged, but they

       4   can't do that unless they know they exist.

       5              MR. MARI:    Understood, Your Honor, and I agree with

       6   that.

       7              THE COURT:   All right.    Request number 18,

       8   communications between KKM and any nonparty.

       9              MR. MARI:    Yes, Your Honor.

      10              And this is getting into the cell phone issue.       We've

      11   advised Plaintiffs' counsel and it is within our position and

      12   statement that any texts on his old phone, Mr. McIntyre's old

      13   phone, are no longer in his possession.

      14              I know that they have speculated that it would be

      15   transferred over to the Cloud.       I specifically requested if

      16   there was anything on the Cloud and I was told that there is

      17   not.    So our response is that anything that was produced with

      18   those Bates stamps is everything that is in our possession and

      19   control.

      20              THE COURT:   All right.    So that just takes care of the

      21   text messages.    But Mr. Yee pointed out that in addition to

      22   that this is a broader request.

      23              It is not just asking for these text messages.       You

      24   are expected to look for ESI.        You are expected to look for

      25   paper copies.    You know, phone logs.     Communications is a broad
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       1   concept.    Has that been done?

       2              MR. MARI:    That would have been included within some

       3   of these other requests and, yes, it has.       And there was also a

       4   comment by Mr. Yee that the cell carrier may still have text

       5   messages.    And that is something that they are welcome to

       6   subpoena, but that's not something that a cell carrier is not

       7   within our possession or control.

       8               So I agree that this is just broader than just text

       9   messages.    And the response that we have asserted that other

      10   than documents produced, there is nothing responsive.         And

      11   again, I think supplement it to the extent anything exists, but

      12   we have searched -- KKM has searched various ways and various

      13   times.

      14              THE COURT:   Number 21, any documents, communications

      15   regarding returned barrels, testing or this is duplicate of

      16   number 3.    Forget that one.

      17              MR. MARI:    Correct, Your Honor.

      18              THE COURT:   Number 22, any communications, replacement

      19   barrels after return.

      20              MR. MARI:    And our response was none.

      21               KKM's position is that we have not replaced any

      22   nonconforming, defective, or out of specification barrels.

      23               And ultimately, I think what the Court correctly

      24   pointed out that a lot of what this comes out to is disputes

      25   about the facts and varying interpretation of the evidence, but
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       1   this isn't a situation where KKM can be to compelled to produce

       2   something that its representative does not have.

       3            THE COURT:    Number 23, any customer complaints

       4   regarding 1911 or 2011 pixel barrels.

       5             Now, this, of course, if this has no responsive

       6   documents to produce, what your answer was that this request is

       7   broader than just for documents.      What about oral complaints or

       8   you said you do a lot of business on the telephone.

       9             Are there any records or documents that document those

      10   telephone calls?

      11            MR. MARI:    No, Your Honor.

      12             And I wrote that comment down that oral -- earlier

      13   that the Court made and I would agree that if an oral complaint

      14   was made and then reduced to writing that would be responsive.

      15   But, otherwise, there is nothing responsive.       So the answer to

      16   that would be they have considered it and the answer is, no,

      17   there is no record.

      18            THE COURT:    Give me one moment.

      19             Number 25, copies of documents communications

      20   published by KKM regarding the type of (inaudible).        And

      21   they're talking really about, like I said, this goes to the

      22   heart of their case.    What representations did you make on your

      23   website or pamphlets or other --

      24            MR. MARI:    On the website we have produced the current

      25   copy of the website, which this gets into another request, but
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       1   the previous versions of the website are not available because

       2   the company went out-of-business and is unavailable.

       3             KKM has asked its current website provider if any

       4   current versus is available and their response was no.         So what

       5   has been produced is the certification and the letter which

       6   talks about the types of a steel that KKM uses, but to the

       7   extent that anything from representations from an old version

       8   of the website, that's not available today.

       9            THE COURT:    And the original web designer, or whatever

      10   you want to call it, is out-of-business or is just not

      11   available.

      12            MR. MARI:    I have the name of the businesses.       They

      13   are no longer available.

      14            THE COURT:    What is the name of the business?

      15            MR. MARI:    One second, Your Honor.     Zoo currently they

      16   use a company called media x-ray -- no I'm sorry.        I have this

      17   -- the old company is -- well, my notes aren't clear, the two

      18   names of the company are Darke Media and Dark has an "E" at the

      19   end.   It's not clear from my notes.

      20            THE COURT:    The old one as to --

      21            MR. MARI:    Yes, correct.

      22            THE COURT:    Has your client been in touch from the

      23   previous company to see if by chance they have records?

      24            MR. MARI:    I believe so.    I know the owner has spoken

      25   to the current company to see if any of that data or its
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       1   previous version is harvestable, but I don't want to

       2   misrepresent to the Court and say for certainty he has tried to

       3   reach this old company or if he even has contact information

       4   for that previous company.     I do not know the answer to that.

       5            THE COURT:    Okay.   According to what Mr. Yee said, you

       6   did give him a part of the website, but it was only certain

       7   portions regarding frequently asked questions, but not anything

       8   having to do with your advertising practices.

       9            MR. MARI:    I don't know that -- if that's what Mr. Yee

      10   said, I don't think that's one hundred percent correct.

      11             We produced our entire website as it is today which is

      12   available.   Any previous iterations are not available, but the

      13   entire -- and I think what he was saying -- and Mr. Yee, you

      14   can correct me if I'm wrong, is that the majority of what was

      15   produced on the website was FAQs and that was probably the bulk

      16   of the website, but that's not the only thing.        We have

      17   produced for the entire website as it is today.

      18            THE COURT:    And the certification sheets that you

      19   referred to in your response here in the JSR, those

      20   certification sheets are the certification sheets from the

      21   underlying field manufacturer, or whatever you want to call it,

      22   Carpenter and Otucomfu.

      23             MR. MARI:   That's correct.

      24            THE COURT:    Okay.   They're not yours.     They are the

      25   original manufacturer, for lack of a better word?
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       1              MR. MARI:    Right.   And I think we could have not

       2   produced that, but in the interest of full disclosure and

       3   cooperation amongst the parties it was produced.        And that is

       4   ultimately the (inaudible) that is used by KKM.        You are

       5   correct, though.       That's not KKM's, something they generated or

       6   created.

       7              THE COURT:    All right.   Next we get to talk about your

       8   website on request number 26 and SCI related to your website

       9   and any changes to that from January 2017 to the present.

      10              MR. MARI:    And that's what I was just explaining.

      11              What is available today with the current company has

      12   been produced.    Anything before that with the prior company

      13   that is now dissolved and out-of-business, the current company

      14   says they cannot access it.

      15              THE COURT:    Okay.   That takes care of our first

      16   motion.    Let's go to ECF 95-1, 2, and 3 and these all deal with

      17   ECF number 86, the next motion.

      18              Let's start with 95-1, which is Plaintiffs' motion to

      19   compel KKM's better responses to the second request for

      20   production and the second request for admission comes later, I

      21   think.

      22              MR. MARI:    Yes.

      23              THE COURT:    The second request for production and

      24   let's just deal with the purchase and sale by KKM of BQ-5 steel

      25   and 416-R steel and then its own sales of barrel made of the
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       1   same material.

       2             I'm not sure I understand your position with these.

       3   These seem pretty easy to me.     What were the sales of barrels

       4   made from BQ-5 steel?

       5            MR. MARI:    Yes, Your Honor.    Sorry.   I didn't mean to

       6   interrupt.

       7            THE COURT:    No, that's okay.    I just don't understand

       8   why that is such a difficult request.

       9            MR. MARI:    The answer is none before 2020 and we tried

      10   to add additional context to that.       There were no sales,

      11   consumer sales or private sales.

      12             Before 2020 the only use of BQ-5 that KKM had was

      13   through a test production at the request of the U.S. Army

      14   Marksmanship Unit in which other than testing to confirm the

      15   Rockwell hardest test at KKM and then sending those test

      16   barrels to the U.S. Army, it had no other involvement.

      17             It wasn't a sale.    There was no mass production.

      18   There was no followup order by the U.S. Army.        So, ultimately,

      19   the answer is there is no BQ sales, test results, anything like

      20   that before 2020 because KKM did not use BQ-5 steel other than

      21   that one extremely limited circumstance at the request of the

      22   U.S. Army.   And again, that wasn't a sale and there was no test

      23   results in connection with that.

      24            THE COURT:    You've got to back up.      You have to go

      25   back up and go to basics.     Request number 1 doesn't ask you for
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       1   test results.   It just asks you for invoices and records.

       2            MR. MARI:    Ultimately, Your Honor, there is none.

       3   There is no exchange of payment for BQ-5.

       4             Just to be clear, we have produced documents after

       5   2020 because that's when BQ-5 stated being used by KKM, but the

       6   dispute that the Plaintiffs seem to have is that prior to 2020

       7   they seem to believe that BQ-5 was used at least or regularly

       8   and we've responded and explained that that's not the case.

       9             So we have produced documents regarding BQ-5 in

      10   response to number 1 for 2020 and after.       The dispute seems to

      11   be on some text messages from SCI's employee, which is not

      12   someone associated with KKM referring to potentially prior BQ-5

      13   materials used.

      14             And a couple of issues with that are one that is

      15   unverified.   Two, we don't know the basis of that employee's

      16   knowledge or if it is trustworthy, but ultimately KKM has

      17   endeavored to explain the entirety of its use of BQ-5 before

      18   2020.

      19             So, really, I think this dispute really on the BQ-5

      20   issue is that they believe there are materials out there and we

      21   have responded there are none and the only involvement with

      22   BQ-5 is that limited interaction with the U.S. Army and there

      23   is no records of that.

      24            THE COURT:    All right.    There are no invoices or

      25   purchase orders dealing with BQ-5 in 2020 dealing with the
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       1   military is what you are telling me?

       2             MR. MARI:   Prior to 2020.

       3            THE COURT:    2016 to the present.     That includes 2020.

       4            MR. MARI:    We produced everything 2020 and after once

       5   they started using BQ-5.       The only use of BQ-5 before that was

       6   that single instance with the U.S. Army.       And from what I

       7   understand the Army sent a 12-foot piece of steel and asked for

       8   these test barrels.    Once however many barrels were made they

       9   were shipped back to the U.S. Army and that was the end of it.

      10   There was no payment.    There is no invoice.     There is no

      11   testing data and again that's all pre-2020.

      12            THE COURT:    Okay.    Next is number 2, sales of

      13   19/10/20 barrels made from (inaudible) 416-R.

      14            MR. MARI:    And this gets into the 416 versus 416-R and

      15   restricted issue, which I think the Court correctly pointed out

      16   that this is a question of fact.

      17             They may not like KKM's nomenclature or the way they

      18   label steel, but ultimately whether KKM considers it to be

      19   416-R or 416 restricted it doesn't make this answer untruthful.

      20   So we have responded to this and actually the clearest

      21   explanation -- and I'm jumping ahead a little bit here.

      22             Second request for admissions number 95-3, request

      23   numbers 2, 4, and 6, KKM specified its exact specifications for

      24   a request for 416 steel.       So KKM places its restrictions on

      25   steel and considers it 416-R and 416 restricted.
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       1             Again, the fact that Plaintiffs may not agree or may

       2   not like that does not change that this is a disputed issue of

       3   fact.

       4            THE COURT:    Right.   Which makes the discovery so much

       5   more relevant.

       6            MR. MARI:    And we've produced documents.      They just

       7   claim that the documents that we have produced are unresponsive

       8   because they don't say 416 restricted or 416-R and our position

       9   is that is not the end-all be all.

      10             The restriction themselves placed on the steel by KKM

      11   make it, in KKM's opinion, 416-R and 416 restricted.         So this

      12   isn't a situation where they're asking for something and we're

      13   saying none.   The parties have varying interpretations of the

      14   materials produced.

      15            THE COURT:    Right.   Of course I'm looking at a request

      16   for production and your response really is more akin to an

      17   interrogatory response.    So what is your answer to request for

      18   production number 2?

      19            MR. MARI:    We have produced documents that show the

      20   certification sheets.    So those are the records of the steel

      21   received to make these barrels in the request.

      22            THE COURT:    Which say 416 and those are the ones that

      23   we talked about previously?

      24            MR. MARI:    Most of them.    Some of them say 416-R, but

      25   ultimately that is what the Plaintiffs are taking issue with
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       1   what we produced in their opinion does not support their

       2   version of events.     So this is a dispute about the items that

       3   are produced.

       4             But what we have said in our response is ultimately

       5   these are issues that seem like summary judgment or issues of

       6   fact for a jury whether or not it truly was 416-R, or 416

       7   restricted, or 416 steel.

       8             But what we have produced are the steel and the

       9   invoices and the certifications for the steel that KKM used.

      10             THE COURT:    Well, is it fair to say that if I were to

      11   ask you to amend this response, you would say that you have to

      12   do all documents in your possession responsive to this request?

      13             MR. MARI:    Yes, Your Honor.

      14             THE COURT:    Okay.   Next is number 3, purchase of BQ-5

      15   steel 2010 to the present.

      16             MR. MARI:    So KKM responded that we produced documents

      17   from 2020 to the present, which I explained that it started

      18   utilizing BQ-5 steel.    The Plaintiffs are taking issue and

      19   saying that there should be things previous to this.         And KKM

      20   is responding that there are no records prior to 2020 and we

      21   have produced everything responsive from 2020 on.

      22             THE COURT:    Give me one moment.

      23             Next is request number 4 produced (inaudible)

      24   documents related to purchase of the 416.       Same question as

      25   (inaudible).
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       1             MR. MARI:    That's correct, Your Honor, and we've

       2   produced the documents.    The Plaintiffs don't agree with our

       3   interpretation of the documents produced, but we have produced

       4   everything that KKM has in its possession and in its opinion is

       5   responsive to that request.

       6             And when I say in its opinion, based on the differing

       7   positions with respect to 416, 416-R, and 416 restricted.

       8             THE COURT:    What about Plaintiffs claim that you

       9   produced nothing from 2010 to 2014?      I think I heard that.

      10             MR. MARI:    There was discussion about that, but I

      11   don't think it was from this request.      I can pull up the

      12   certification and see the dates on there.

      13             To the extent, I guess to short-circuit this and to

      14   save everybody some time, to the extent that there are any

      15   certifications that date back to 2010 to 2014 and they are in

      16   KKM's possession, we agree to produce them.

      17             Without going through my file and looking at the dates

      18   on those certifications, which I could do if the Court would

      19   like, I don't know.    They may go back that far.

      20             To the extent they didn't, my assumption is that it is

      21   not in KKM's possession.     But, like I said, if there is

      22   something we would agree to produce it.       I'm happy to go back

      23   and triple-check that.

      24             THE COURT:    All right.   That takes care of that with

      25   this next motion.     Let's turn to Plaintiffs' motion to compel
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       1   production from KKM.

       2             MR. MARI:    I'm there.

       3             THE COURT:   Request number 2, sales records not from

       4   416-R steel.

       5             MR. MARI:    And again, this gets into a dispute about

       6   facts.    We've responded there are none because KKM's barrels

       7   were 416-R.    So that is the response.

       8             THE COURT:   Number 7, any studies regarding BQ-5 and

       9   that's at (inaudible) was appropriate for the 1911-barrel.

      10             MR. MARI:    And again, the answer is none.     There are

      11   none and that is what we responded.

      12             THE COURT:   Okay.    To compel to second request for

      13   admission to KKM and with reference to 2, 4, and 6 you denied.

      14             MR. MARI:    Correct.

      15             THE COURT:   With reference to 10 you denied.       That's

      16   it.   You responded to those.

      17             MR. MARI:    I responded and the first three there were

      18   the explanation of why we denied it and not just an outright

      19   denial.   Again, this goes to the 416, 416-R, and varying

      20   interpretations and disputed issues of fact.

      21             THE COURT:   Right.     That takes care of that one.    Let

      22   me get this motion up.     The next one is -- before we go to the

      23   next one, let's address quickly Plaintiffs' argument that KKM

      24   failed to totally respond to the first request for production

      25   and the first request for admissions.
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       1              MR. MARI:    So the first request for production we

       2   responded to and that has been the subject of the motion to

       3   compel in the hearing today.     The first request for admissions

       4   I will say this that I do not know and I do not want to

       5   represent one way or the other to the Court because I don't

       6   have a definitive answer.

       7              I did not see that as part of the status report.        I

       8   saw that in KKM's response, which is docket 86.        We have taken

       9   issue with the fact that -- I'm sorry.       Not 86 -- ECF 92.    That

      10   although the motion to compel makes passing reference to a lack

      11   of response for the first request for admissions.

      12              Plaintiffs' haven't asked for any relief or filed a

      13   motion to compel with respect to those request for admissions.

      14   So I don't think that's properly before the Court today, but I

      15   do not have any further information.

      16              I'm going to look into that as soon as we get off this

      17   hearing.    So I don't want to represent to the Court that we

      18   have responded when we may not have, but for purposes for today

      19   I don't think that issue is properly before the Court.

      20              THE COURT:   I think the Plaintiffs were saying in

      21   response to that based on what they said to the SCI request for

      22   relief is that Rule 36 is self-executing and they didn't have

      23   to file a motion to compel.

      24              MR. MARI:    And then, to the extent that's true we

      25   would potentially need to file a motion to seek relief for
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       1   that.   But, again, I don't want to misrepresent anything to the

       2   Court here.   I don't know that responses were or were not

       3   served, but for purposes of today I don't think Plaintiffs have

       4   properly moved to compel or admit the first request for

       5   admissions.

       6            THE COURT:    Now, let's turn to the second request for

       7   admission and thank you for reminding me that that issue was

       8   still out there and that's ECF 95-4 Pages 1 through 11.

       9             This deals with -- and this is SCI a second request

      10   for admissions for SCI.

      11             MR. MARI:   So if the Court has no more questions for

      12   me, I will go ahead and mute myself.

      13             Thank you, Your Honor.

      14            THE COURT:    Okay.   Thank you.    And I will be hearing

      15   from Mr. Benford on this one?

      16            MR. BENFORD:    Yes, Your Honor.     Good afternoon, again.

      17   John Benford on behalf of SCI.

      18             Your Honor, as we indicated in our response, Courts

      19   have held that if an answer or two request for admissions

      20   (inaudible) the responding party should be allowed to amend its

      21   answers and the Court should only impose a severe sanction

      22   deeming the request admitted if that responding party

      23   intentionally disregarded its obligations.

      24             In addition, Courts have held that an insufficient

      25   answer should not be deemed admitted if it is contrary to a
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       1   resolution on its merits.

       2             As we state in our response, SCI timely responded to

       3   Plaintiffs' second request for admissions and stated that it

       4   was unable to answer the request after reasonable inquiry.

       5             And as explained in the response SCI is a retailer of

       6   firearm parts and products, it sells approximately 4,000 parts

       7   and products that are manufactured by approximately 200

       8   manufacturers.   So it doesn't have personal knowledge of the

       9   manufacturing process that is used by these manufacturers.

      10             Whether the 416 are a type steel that was used is a

      11   complex issue.   It requires expert knowledge of the

      12   metallurgist expert and with SCI initially answered its request

      13   for admissions back on May 18th.

      14             This issue would still be -- SCI, KKM and SCI's

      15   expert, a metallurgist, enjoined and retained by both KKM and

      16   SCI, his report, Dr. Slanger (phonetic) wouldn't be due for

      17   another six weeks.    So at that point, Dr. Slanger had not

      18   formed his opinion on this issue.

      19             Now, although, regardless when the Plaintiffs raised

      20   this issue, first raised this issue with SCI, as a matter of

      21   good faith even though we stated and we had a good faith basis

      22   because the expert was still six weeks away from finalizing his

      23   opinions on the 416-R issue, we agreed that we would conduct

      24   additional inquiry.

      25             And again, this is all pursuant to 7.183.        So we
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       1   agreed that we would conduct a further inquiry and attempt to

       2   obtain the necessary information so we could amend this answer.

       3   We did that and SCI amended its and answer and served an

       4   amended answer on June 21st, which is at docket 90-10.

       5               Now, in the alternative we are respectfully requesting

       6   that SCI be allowed to amend its answer as it did back on June

       7   21st.   And as we indicate in our response in determining that

       8   an amendment is warranted the Court should consider whether an

       9   amendment serves the presentation of the merits and whether it

      10   will prejudice the party who obtained the admissions.

      11               Regarding the presentation of the merits the first

      12   issue --

      13              THE COURT:   Well, let me ask you a question.      I'm

      14   sorry, Mr. Benford, let me interrupt for a second.        I'm a

      15   little confused.

      16               What I see in the JSR 95.4, I think is your amended

      17   response.    Is there an issue as to whether or not Plaintiffs

      18   are accepting your amendment?     I'm missing something.

      19              MR. BENFORD:   Plaintiffs are rejecting our amendment,

      20   which really is fairly confusing because this is exactly what

      21   we agreed.    We agreed that we would conduct a further inquiry,

      22   which we did.    And we served an amended response to the second

      23   request for admission on June 21st.

      24              THE COURT:   And the second response are the response

      25   of the denial that are reflected in the 95-4; is that correct?
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       1             MR. BENFORD:   Correct.    Their denial that to even as

       2   Your Honor pointed out, the even number request between 2 and

       3   50, correct.   And again, that's in the record at docket 90-10.

       4   Those are our amended response which, again, we served on

       5   June 21st pursuant to 7.183.

       6             THE COURT:   Right.

       7             MR. BENFORD:   So we were surprised because we

       8   understood this issue to be resolved.      So we were surprised

       9   that Plaintiffs went ahead and filed this motion to deem the

      10   original response admitted when we had, in fact, amended the

      11   original response and denied --

      12             THE COURT:   When I spoke with Mr. Yee, when we had our

      13   discussion he did not bring that up.      So I was assuming that

      14   wasn't an issue any longer and that he had accepted your

      15   amended responses in this particular motion.       Let me break my

      16   own rule for a minute.

      17             Mr. Yee, back to you for a second.

      18             MR. YEE:   Yes, Your Honor.

      19             THE COURT:   So is this an issue or not?      I assumed it

      20   wasn't.

      21             MR. YEE:   So it was an issue at the time when SCI

      22   filed their amended response by denying it.       But again this

      23   goes to the heart of that 416-R issue, Your Honor.

      24             We had presented information to SCI showing that the

      25   barrels at KKM, the steel that they were using, none of the
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       1   certification show that it was 416-R steel.       All of the

       2   certification was for straight 416 and that's why the issue

       3   with their denial.       But for purposes of this motion when you

       4   and I addressed it, like you said the Defense will live and die

       5   by their answers.       So, yes, we did take issue initially but

       6   based on our discussion --

       7              THE COURT:    That just helps see where I am with Mr.

       8   Benford.    All right.    Thank you.

       9               All right.    Mr. Benford back to you.   Let's look at

      10   the 95-4.    You amended your answers and those are the ones that

      11   are being accepted and we are going to work from that forward.

      12               So with reference to the even numbers you have

      13   outright denied those, correct?

      14              MR. BENFORD:    Yes, Your Honor, that is correct.

      15              THE COURT:    And the same thing for I believe number

      16   53, you admitted it with an objection that I will, like I said

      17   before, probably overrule.      So it is going to start with SCI

      18   admits that it removed the above cited language.

      19               So you have an admission and you have a denial.       So

      20   you are complying with Rule 36.        I want to talk to you only

      21   about numbers 52, 55 and 56, okay.

      22              MR. BENFORD:    Yes, Your Honor.

      23              THE COURT:    Now, there what you are telling the Court

      24   is that -- and this is what was on your advertisement.

      25               In 2016 the advertisement, according to the
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       1   Plaintiffs, said it had information about it being 416

       2   stainless steel and the Rockwell -- I don't know --

       3   classification of 42 to 45 and then have it changed after that

       4   in 2017 to 2019 and it no longer and then from 2017 to 2019 it

       5   no longer mentioned the Rockwell hardness.

       6             That is the three ones at issue and your response is

       7   that you conducted a reasonable inquiry.       And based on the

       8   information that you have or could readily obtain, you don't

       9   have sufficient information to admit or deny it, correct?

      10            MR. BENFORD:    That is correct, Your Honor.

      11            THE COURT:    I want you to tell me what was that

      12   reasonable inquiry?

      13            MR. BENFORD:    Well, SCI is a small company.

      14             It does not maintain copies of its previous website

      15   including product description.     So it does not have copies.

      16             In the ordinary course of its business it does not

      17   maintain copies of previous websites.      It is constantly

      18   changing information that is supplied by its manufacturers.

      19   When the manufacturers notify it that information needs to be

      20   updated as part of its ongoing business it will change the

      21   descriptions.   SCI will.    Not its IT person, but SCI will and

      22   it does not maintain copies of --

      23             THE COURT:    I get that.   You don't have copies or SCI

      24   does not have copies, but my question is, you know, pretty much

      25   the same question I asked rhetorically when it was Mr. Yee's
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       1   turn, which is has SCI contacted the third party web designer

       2   to determine its previous versions of the website can be

       3   retrieved?    According to Mr. Yee, Mr. Bradley said no.

       4              MR. BENFORD:   Mr. Bradley testified that SCI's IT

       5   person does not make these changes to product descriptions.

       6   These ongoing regular changes to product descriptions.         SCI,

       7   including Mr. Bradley, makes these changes on a regular basis,

       8   but doesn't keep copies of the changes.

       9              And SCI's key person doesn't maintain copies of the

      10   changes.    Including the SCI product descriptions.      They may

      11   have prior versions of the website that's better changed from

      12   time to time, but the website, the prior versions of the

      13   website aren't going to contain these product descriptions.

      14              Now, they can certainly make that inquiry and they can

      15   double-check with the IT person.      And we can certainly submit

      16   to the Court a declaration from the IT contractor or vendor as

      17   to, you know, whether these prior versions of the website --

      18   and again, it is my understanding that the website is only

      19   changed on a pretty infrequent basis as opposed to the actual

      20   product descriptions, which are changed on a regular basis.

      21   And which, again, SCI doesn't keep a copy of the changes,

      22   including the substance of the change, the date the change was

      23   made, or that type of thing.

      24              So, you know, SCI can certainly ask or double-check

      25   with its web designer.     I guess it's a web designer.      It's an
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       1   IT person as to whether they would have this information, but

       2   according to Mr. Bradley, SCI's IT person doesn't keep or

       3   record these types of changes.       The system doesn't record these

       4   changes.

       5              THE COURT:   All right.   Let's go turn to the last

       6   motion which also deals with SCI.      So that will be you.

       7              MR. BENFORD:   Correct.   Thank you, Your Honor.

       8              THE COURT:   This deals with the first request for

       9   admissions.    This is your motion, Mr. Benford, asking that the

      10   Court not deem your answers admitted because of this

      11   inadvertent failure to serve the Plaintiffs back in February of

      12   2022.

      13              MR. BENFORD:   That is correct.    Sure.

      14              And Your Honor, as you pointed out, we're asking that

      15   the Court deem the answers to the first RFAs timely served or

      16   in the alternative allow SCI to withdraw the technical

      17   admissions and re-serve the answers to the RFAs which we did

      18   back on June 13th.

      19              THE COURT:   I'm sorry.   To be clear, would you be

      20   re-serving the same answers or would you be seeking to change

      21   the answers?

      22              MR. BENFORD:   The same exact answers which, again, we

      23   served back on June 13.     Your Honor, we are just asking that

      24   the technical admissions be removed based upon this clerical

      25   error.   We believe this is a clear inadvertent clerical error.
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       1               SCI, John Chiocca, co-counsel with Cole Scott and

       2   Kissane, his office timely served the answers to the RFAs on

       3   all parties on February 7th with the exception of Plaintiffs.

       4   And the motion that catches the declaration of Mr. Chiocca,

       5   legal assistant, Melissa Benson, who served the answers.           And

       6   she testified in her declaration that she intended to serve

       7   them on Plaintiffs and she attaches the e-mail showing her

       8   intent to serve the answers on February 7th.

       9               The service, the e-mail is a service e-mail.      It

      10   states service of court documents.      And the form of the e-mail

      11   is the type of e-mail that is used to serve documents.         So it

      12   was clearly an intent to serve these answers to the first RFAs

      13   back in February.

      14               In addition, Plaintiffs did not mention the fact that

      15   they didn't receive these answers to the first request for

      16   admissions until June 11th, which is four months after they

      17   were due.    Again, no communications from Plaintiffs.       No

      18   followup.    Not even a single e-mail saying are you guys ever

      19   going to respond to these.

      20               So when this issue was first raised by the Plaintiffs

      21   on June 11th we immediately served or we immediately sent

      22   Plaintiffs on the responses which, again, Plaintiffs were

      23   inadvertently left omitted when they were served back on

      24   February 7th.    So this is something that we immediately

      25   responded to.
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       1             Courts have held that a withdrawal or an amendment to

       2   an answer for request for admissions should be allowed.         Again

       3   the presentation of the merits of the action and it doesn't

       4   prejudice the requesting party.      In addition Courts have also

       5   held that relief of technical omissions there is a mistake that

       6   we believe there was a clear mistake here and the mistake was

       7   diligently detected, which it was.

       8             And again, immediately after discovery of this

       9   clerical error, SCI served Plaintiffs with the answers that it

      10   intended to serve on the Plaintiffs back in February.         When SCI

      11   had filed this motion -- and this goes to the prejudice.

      12             When SCI had filed this motion, Plaintiffs had not

      13   taken any depositions and Plaintiffs have still not taken the

      14   deposition of the Defendants' expert metallurgist.        And most of

      15   the issues that are addressed in this first request for

      16   admission deal with metallurgy including the type of steel.

      17             In addition, Plaintiffs have not taken the deposition

      18   of any of KKM's representatives or SCI's 30(b)(6) corporate

      19   representative.   So certainly with respect to the prejudice

      20   issue, Your Honor, we believe there is plenty of time left to

      21   take additional depositions on these issues.

      22             On the other hand, deeming these requests admitted

      23   based on a clerical error we believe would unfairly prejudice

      24   SCI.   It would be admitting material issues that could render

      25   SCI liable on a number of issues.      So we would respectfully
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       1   request that the Court grant our motion.

       2             Thank you, Your Honor.

       3            THE COURT:    All right.    Thank you very much.

       4             I'm going to give Mr. Yee five minutes for rebuttal

       5   and I am really going to stick to the time because we are well

       6   over.   Luckily, I am on criminal duty, but nothing came in.         So

       7   we got super lucky.    So five minutes.

       8            MR. YEE:   Thank you, Your Honor.

       9             This is Attorney Yee.     Just a few rebuttal comments.

      10   I don't want to take up too much of your time because we have

      11   addressed a lot of the arguments already this afternoon.

      12             But regarding Mr. Mira's comments and regarding the

      13   joint testing protocol, they indicated that they have not

      14   received a protocol from Plaintiffs.

      15             Again, this is something that Defense counsel

      16   indicated that they would establish as they wanted to control

      17   it.   And if requested by the Court, Mr. Fiato and I could

      18   produce e-mails where Mr. Fiato and I practically begged them

      19   for over a year for this joint testing protocol where Mr. Mari

      20   indicates that somehow this was our responsibility is false.

      21             He was not even involved in the initial conversation

      22   back in May of '21 where it was discussed.       And then, finally,

      23   after their expert contacted our expert, finally in October of

      24   '21 they indicated they would put together the protocol.         So to

      25   kind of put that on us I think would be a little insincere.
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       1               Regarding the issue with the Nevada Heat Treat

       2   documents, although Mr. Mari indicated that they would ask for

       3   it, I want to clarify.    You know, he makes a lot of issue about

       4   us and the proper way to get it is to subpoena Nevada Heat

       5   Treat, which we did and he indicated that it was incumbent upon

       6   us to go and get it.

       7               Mr. Fiato and I did speak with counsel for Nevada Heat

       8   Treat who indicated to us that all the information that we were

       9   looking for was already in the possession of KKM and that it

      10   would be a burden on them to produce the stuff that we could

      11   get from a party in the case.

      12               So at that point in time we approached Mr. Robinson

      13   who indicated that he would get it.      And as you pointed out,

      14   Your Honor, although Mr. Robinson was very cooperative and

      15   reasonable, he didn't execute and we're still waiting for it

      16   and we're still waiting for it today.

      17               Regarding this issue about the use of the BQ-5 not

      18   until mid 2020.    Again, I point the Court's attention to, you

      19   know, Mr. Mira indicates that we have no evidence showing that

      20   there was any indication that KKM didn't use BQ-5 prior to

      21   mid-2020.

      22               Again, I point the Court to the January 9/2020 public

      23   letter that KKM wrote and had Shooters Connection posted on

      24   their Facebook page that told the public in January of 2020

      25   that they used steel that was BQ-5 steel.
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       1             Mr. Mari takes issue with it and said that we never

       2   sold it to the public and it was only a military thing.         And he

       3   indicates that there are no records of these barrels going to

       4   the military.   They're doing business with the U.S. Government

       5   and they want the Court to believe that there are no records of

       6   this?

       7             And quite frankly, the ultimate letter disputes their

       8   own assertion that they didn't use the BQ-5 until mid-2020 when

       9   in January of that year they are already telling the public

      10   that they are using BQ-5.

      11             Regarding the certs, Mr. Mari indicated that some of

      12   the certs indicate 416-R.     That's actually untrue.     Every

      13   single steel certification provided through discovery from

      14   Otucomfu and Carpenter all say 416 and only 416.        There are no

      15   certs that say 416-R.    That's an inaccurate statement.

      16             Regarding the first request for admissions, Mr. Mari

      17   indicated that the Plaintiffs have not filed a motion to compel

      18   or some type of motion to have them deemed admitted.

      19             As Your Honor correctly pointed out, it is a

      20   self-executing rule.    It's not incumbent upon us to do anything

      21   with that.   It is deemed admitted if you fail to answer.

      22             The same goes to the assertion to Mr. Benford

      23   indicating that we didn't take issue to the fact that SCI

      24   hadn't responded to the first request for admissions either by

      25   February 7th of 2020.
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       1               And the reason for that is, Your Honor, at that

       2   particular point in time our discovery had already been served

       3   almost a year earlier.    We hadn't received a single response to

       4   any of our earlier requests to produce.

       5               Albeit in their defense because the joint motion to

       6   dismiss was still pending by the Court, we didn't pressure

       7   them.   But the point is, Your Honor, we had served discovery

       8   requests.    We had served requests to admit.

       9               And when the due date came due, we hadn't at that time

      10   receive a single discovery document and did not receive

      11   responses to the first request for admissions by either KKM or

      12   SCI.

      13               So why would that seem funny to us to pressure SCI for

      14   that?   They make it sound like it was incumbent upon us to make

      15   noise about it when at that particular point in time they

      16   didn't produce a single discovery document.

      17               Mr. Benford also takes issue and makes reference that

      18   we haven't deposed their expert metallurgist.        Well, quite

      19   frankly, Your Honor, their expert metallurgist report, the

      20   disclosure was supposed to be provided by the Court's

      21   scheduling order by May 5th of this year.       They didn't provide

      22   any disclosure of him until June 30th in the form of a rebuttal

      23   report, which is a subject of another debate.

      24               By not disclosing their expert on May 5th, it

      25   practically took away our ability to provide a rebuttal by
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       1   June 30th and we're still discussing that.

       2             But for Mr. Benford to indicate that we haven't

       3   deposed their expert.    That's true.    We didn't know about him

       4   until June 30th when they provided that report.        So we are just

       5   now setting up depositions of most of the key fact witnesses,

       6   which many of them are scheduled.      But, yes, we haven't

       7   scheduled that deposition yet because we didn't know about him

       8   until June 30th.

       9             Mr. Benford also indicates that we haven't even

      10   deposed the KKM representative.      I hate throwing people under

      11   the bus but, again, Mr. Robinson being reasonable and

      12   cooperative indicated to us months ago that he would get us a

      13   deposition date for Mr. McIntyre, but we just got a date for

      14   Mr. McIntyre maybe three weeks ago.

      15             So, you know, if Defendants want to portray the

      16   situation that the Plaintiffs are kind of sitting on their

      17   hands in this case and that's absolutely not true, Your Honor.

      18             And again, as I mentioned, the overall theme of these

      19   motions that, you know, this law suit and discovery is supposed

      20   to be a search for the truth.     What we are faced up against at

      21   this point with the close of discovery just around the corner,

      22   as you mentioned about a month away, we feel that the

      23   Defendants have been less than cooperative in executing on

      24   their promises to provide testing protocols and to get

      25   documents.
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       1               You know, Mr. Benford, just made an argument about the

       2   web guy who created the SCI doesn't make the changes.         Well, we

       3   are not asserting that he did.      Maybe he did or didn't.     But

       4   the point is Mr. Bradley didn't even bother to call the

       5   gentleman to ask, hey, I know you didn't make the changes, but

       6   since you created it, is there a way that this system can go

       7   back in time and see from a technical standpoint prior

       8   versions?    He didn't even make that call.     So, again, it is the

       9   overall theme of the lack of execution, Your Honor.

      10               Therefore, we would ask that the Court provide the

      11   Plaintiffs some relief here in forcing the Defendants to

      12   provide discovery that is long overdue or to provide answers to

      13   discovery that we have been seeking.

      14            THE COURT:    Thank you.

      15               What I'm planning to do is the following.      We're going

      16   to take a break because we have been at this for a long time.

      17   And during that break I'm going to reflect on your arguments

      18   and review my notes.

      19               And then, we will come back from the record and I will

      20   rule from the bench.    I will rule orally.     I don't plan to

      21   write a long order, but rather a short paperless order that

      22   will refer you back to whatever ruling I make on the record.

      23               So if you want a copy of my ruling, I ask that you get

      24   a copy of the transcript.     And you can do that by contacting

      25   the clerk here in Fort Lauderdale.      So let's take a 15-minute
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       1   break.    It is now 4:35.    So let's come back at -- let me look

       2   at the time.    So let's come back five to and if I need a little

       3   bit more time, I will let you know and then I will rule from

       4   the bench.

       5              In the meantime, I am going to ask that you put the

       6   line on hold or mute yourselves.        I'm going to go into another

       7   room.    So I won't be here with you.     I will stop the recording

       8   so if you want to conduct any chit-chat, you won't be on the

       9   record.   So let's do 20 minutes.       So 4:55.   Let me stop the

      10   recording now.

      11              MR. YEE:    Thank you, Your Honor.

      12 (Thereupon, the proceedings resumed:)

      13              THE COURT:    Gentleman, this is Judge Valle again.       We

      14 are reconvening.        It is now 4:56.

      15              Recalling the case of Akai Custom Guns versus KKM;

      16 case number 20-cv-61469.       I am confirming that everyone is on

      17 the line.      So if the Plaintiffs could put their appearance on

      18 the record.

      19             MR. YEE:     Good afternoon, Your Honor.

      20              This is Attorney Edmund Yee on behalf of the

      21   Plaintiffs.

      22             MR. FIATO:     Good afternoon, Your Honor.

      23              This is Attorney Richard Fiato on behalf of the

      24   Plaintiffs.

      25             THE COURT:     And for the Defense?
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       1               MR. MARI:    Good afternoon, Your Honor.    This is

       2   Nicolas Mira on behalf of KKM.

       3              MR. BENFORD:    Good afternoon, Your Honor.    This is

       4   John Benford on behalf Defendant SCI.

       5              THE COURT:    All right.    Thank you, everyone.

       6               So we have everyone back on the record.      I am now

       7   ready to rule from the bench.         As I said before, I am not going

       8   to do a lengthy written order, but will rely just on my

       9   findings and enter a paperless order that basically says for

      10   the reasons stated on the record, the motion is denied,

      11   granted, et cetera.       So if you need a transcript make sure you

      12   get one.

      13               All right.    My ruling today is framed by the following

      14   legal principles.       First, under Federal Rule of Civil Procedure

      15   2061, the parties may obtain discovery regarding any non

      16   privileged matter that is relevant to any party's claim or

      17   defense and proportional to the needs of the case considering

      18   the importance of the issues at stake in the action, the amount

      19   in controversy, the parties' relative access to relevant

      20   information, the parties's resources, the importance of the

      21   discovery in resolving the issues, and whether the burden or

      22   expense of the proposed discovery outweighs its likely

      23   benefits.

      24               Further, under the Federal Rule, a party may request

      25   the production of any documents and make requests for
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       1   admissions that fall under Rule 26(b) pursuant to Federal Rules

       2   of Civil Procedure 34(a) and 36.

       3             Moreover, Rule 26(b) allows discovery through the

       4   increased concept of proportionality and I'm citing to In Re

       5   Decata Air Bag Litigation, Seventh District of Florida,

       6   March 1st, 2016.

       7             If an opposing party objects to the request for

       8   production, the requesting party may then file a motion to

       9   compel production pursuant to Federal Rule of Civil Procedure

      10   37, but only after conferring with opposing counsel in good

      11   faith to resolve the issues in dispute without Court

      12   intervention.

      13             The Federal Rules afford the Court broad authority and

      14   discretion to control the scope of discovery.        Defendants v.

      15   Wall To Wall Residence Repairs, Eleventh Circuit, 2011.         And

      16   they strongly favor full discovery whenever possible.

      17             Citing to Farmsworth v. Proctor And Gamble, Eleventh

      18   Circuit, 1985.   Accordingly, Courts employ a liberal and broad

      19   scope of discovery in keeping with the spirit and the

      20   (inaudible) of these rules.

      21             Citing to Rosenbaum v. Becker and Poliakoff, Southern

      22   District of Florida, 2010.     The overall purpose of discovery

      23   under the Federal Rules is to require the disclosure of all

      24   relevant information so that the ultimate resolution of a

      25   disputed issue in any civil action may be based on a full and
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       1   accurate understanding of the true facts and, therefore, embody

       2   a fair and just result.

       3             And that is a quote from Shapiro v. Dynamic Recovery

       4   Solutions, Seventh District of Florida, July 26th of 2018.

       5   Accordingly, when a party objects to discovery, the onus is on

       6   the objecting party to demonstrate with specificity how the

       7   objection to the request is unreasonable or otherwise unduly

       8   burdensome.   Powers v. Target Corporation, Southern District of

       9   Florida, January 24th of 2020.

      10             My ruling today is also framed by Rule 26(b)(2)(c),

      11   which authorizes the Court to limit discovery if discovery is

      12   unreasonably cumulative or duplicative, or can be obtained from

      13   some other source that is more convenient and less burdensome,

      14   or less expensive.

      15             And I'm citing to JDW Software v. Embroidery.com,

      16   Southern District of Florida, May 31st of 2011.        With these

      17   principles in mind, I am going to turn to the specific motions

      18   at issue starting with the request for production.

      19             The first one that I'm going to turn to is Plaintiffs'

      20   motion to compel complete and accurate answers.        The Plaintiffs

      21   first request for production of documents from KKM and that's

      22   at ECF number 80, the JSRs ECF number 95, Pages 1 through 18.

      23             As to request for production number 1, I am going to

      24   grant the motion to compel.     As discussed at the hearing today,

      25   Defendants and the Plaintiffs will engage in a joint test --
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       1   will develop and then execute a joint testing protocol that

       2   will resolve this particular request and they will mutually

       3   exchange barrels and this will include the Akai Thompson

       4   Sleeved failed barrel that is in the Defendants' possession.

       5              As to request for production number 3, I am going to

       6   grant the motion to compel.     The Defendants will be required to

       7   amend its answer and if all responsive documents have been

       8   produced it should state so clearly.      If there are no other

       9   documents, it should also say so clearly.       So that is to be

      10   amended.

      11              Request for production number 4 dealing with recalls,

      12   the Defendants have stated that it had not had any recalls.

      13   Therefore, requests for production number 4 will be denied as

      14   moot based on the Defendants' responses.

      15              Request for production number 5, I will grant the

      16   motion to compel.    The Defendants to amend its response after

      17   confirming that the innovative testing system is not or does

      18   maintain test results.

      19              Request number 6 dealing with recalls is denied as

      20   moot.   The Defendants have stated that it did not have any

      21   recalls.

      22              Request for production number 7 is granted.       Once

      23   again, the Defendants are ordered to amend its response to

      24   clearly state that all responsive documents have been produced.

      25   And to the extent that any documents are received from Nevada
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       1   Heat Treat -- I'm sorry.     I forgot the name of the company --

       2   Nevada Heat treatment, those documents will be produced by the

       3   Defendants.

       4               Request for production number 10, I am again going to

       5   grant the motion.    Defendants are to amend its response to

       6   clearly reflect whether all responsive documents have been

       7   produced.    And also to clarify that once documents are received

       8   from Nevada Heat Treatment, those documents are also to be

       9   produced.

      10               Request number 11, same as number 10.     Same ruling as

      11   with number 10.

      12               Request for production number 17, I am going to grant

      13   the motion to compel.    Defendants are to amend its response to

      14   clarify that all responsive documents have been produced.

      15               If any documents remain that have not been produced,

      16   subject to a claim of attorney/client privilege or any other

      17   privilege or doctrine, then, the Defendants are to produce a

      18   corresponding privilege log that complies with the requirement

      19   of a proper privilege log.

      20               As well, I want to clarify that this request for

      21   production calls for the production of pre-suit communication.

      22               Number 18, I am going to grant the motion, again.       The

      23   Defendants are ordered to amend its response to clarify whether

      24   all responsive documents have been produced and that there are

      25   no others.    That includes e-mails and other communications and
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       1   not just text, which was the subject of what we discussed

       2   today.    This request is much broader.

       3              So, again, Defendants' motion is granted.       Defendants

       4   will amend its response to clearly reflect whether all

       5   documents responsive to this request have been produced.

       6              Request number 21 is denied as duplicative.       Request

       7   for production number 3 is identical.       Request for production

       8   number 22 -- gentleman, am I going too fast?

       9             MR. YEE:    No, Your Honor.

      10             MR. MARI:    No, Your Honor.

      11             MR. BENFORD:    No, Your Honor.

      12             THE COURT:    All right.   Thank you.

      13              Request for production number 22 is going to be

      14   denied.   I think that Defendants clearly responded to that

      15   interrogatory.

      16              Request for production number 23 is also denied.

      17   Again, the Defendants clearly responded.       I'm sorry I said

      18   interrogatory.   I meant request for production as to 22.

      19              Defendants clearly responded to request number 23 as

      20   well.    So that is denied.

      21              As to request for production number 25, I am going to

      22   grant the motion.      Once again, Defendants are ordered to amend

      23   its responses.   If all responsive documents -- to reflect

      24   whether all responsive documents have been provided.         If not,

      25   then obviously these documents are to be provided.
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       1              In amending this response, the Defendants are to take

       2   this opportunity to contact the previous company to make sure

       3   that none of this has been preserved by the previous company,

       4   whether it is Media X-ray or Darke Media.

       5              Request for production number 26, I am going to grant

       6   the motion to compel.    Defendants are to amend its answer.

       7   Especially after contacting the prior company and then confirm

       8   that all responsive documents have been produced and no others

       9   exist.    That is the first motion.

      10              Turning next to ECF number 86, and in particular to

      11   the first Joint Status Report relevant to that motion, which is

      12   at ECF 95-1, Pages 1 through 12.      The first one is Plaintiffs'

      13   motion to compel accurate answers to Plaintiffs' second request

      14   for production to KKM.    I am going to grant this motion to

      15   compel.   Defendants are to amend its responses to clearly state

      16   whether documents, all responsive documents, have been produced

      17   and that no others exist.

      18              In particular, as to request for production number 4,

      19   Defendants will amend its response to include any information

      20   that was omitted with reference to the years 2010 through 2014.

      21              Turning next to JSR 95-2, Pages 1 through 8, this is

      22   Plaintiffs motion to compel Plaintiffs' answers, better answers

      23   to the third request for production for KKM.

      24              Beginning with request number 2, the motion is denied

      25   as to this request based on Defendants' clear response that it
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       1   had none.

       2               Request number 7, the motion is denied as to request

       3   number 7 given Defendants' clear response that it had none.

       4               Turning next to 95-3, which is Pages 1 through 15,

       5   Plaintiffs' motion to compel accurate answers to Plaintiffs'

       6   second request for admissions to Defendants KKM, I will deny

       7   this motion in full.

       8               As I stated previously, Defendants have clearly denied

       9   these allegations or at least request for admissions and the

      10   case will be prosecuted and the Defendant will live and die

      11   with those answers.     That takes care of that.     That takes care

      12   of ECF number 86.

      13               Turning to ECF number 90, the JSR at ECF 95-4, Pages 1

      14   through 11, this deals with Plaintiffs' motion to deem matters

      15   admitted or compel accurate answers to Plaintiffs' second

      16   request for admissions to Defendant SCI and this correlates to

      17   ECF number 90.

      18               As to this particular request, I am going to deny the

      19   motion as to what I called during the hearing the even 2

      20   through 50, request 2 through 50, and also as to request number

      21   53.

      22               While the Plaintiffs may not agree with these denials,

      23   Plaintiffs certainly have sufficient time to conduct further

      24   discovery and question SCI regarding the basis for its answers

      25   to these requests for admissions in possible depositions.          And
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       1   if that doesn't work out, certainly to cross-examine during the

       2   trial.   So as to those denials once, again, SCI will live by

       3   those answers.

       4             The motion, however, is granted in part as to request

       5   52, 55, and 56.    The Court is not convinced that Defendant SCI

       6   has fulfilled its obligation to conduct a reasonable inquiry

       7   regarding the previous advertisements that are listed in those

       8   three requests for admissions.

       9             So I am going to give the Defendants an additional

      10   opportunity to amend after consulting with its web designer, or

      11   IT person, regarding this issue.

      12             In connection with the request for admissions, I do

      13   want to put forth various principles that govern my ruling in

      14   this regard.

      15             Rule 36(a) allows litigants to serve on another

      16   litigant a written request to admit the truth of any matters

      17   within the scope of Rule 26(b)(1) that relates to facts, the

      18   application of law, or fact or opinions, as well as the

      19   genuineness of any described documents.

      20             Here, these requests deal with facts.        Rule 36 request

      21   for admissions are not meant to be a discovery device.

      22   Instead, the rule is intended to weed out issues, which the

      23   requesting party will doubtless be able to prove.

      24             Rule 36(b) affords the responding party limited

      25   options for answering a request for admissions.         If a matter is
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       1   not admitted, the answer must specifically deny it, or state in

       2   detail why the answering party cannot truthfully admit or deny

       3   it.

       4             A denial must fairly respond to the substance of the

       5   matter.   And when good faith requires that a party qualify an

       6   answer, or deny only part of a matter, the answer must specify

       7   the part that is admitted and qualify or deny the rest.

       8             The answering party may also assert lack of knowledge

       9   or information as a reason for failing to admit or deny, but

      10   only if the party states that it has made a reasonable inquiry

      11   and that the information it knows or can readily obtain is

      12   sufficient for it to enable it to admit or deny.

      13             And that is the basis on which Defendants' answers to

      14   52, 55, and 56 were deficient.

      15             If the Court finds that an answer does not comply with

      16   the rule, the Court may order either that the matter be

      17   admitted or that an amended answer be served.        And as I stated

      18   before, I am ordering an amended answer be served after

      19   conversation with the web designer or IT person.

      20             In addition, a party may move to withdraw or amend

      21   admissions made under Rule 36.      Additionally, subject to Rule

      22   16(e) the Court may permit withdrawal or amendment if it would

      23   promote the presentation of the action or if the Court is not

      24   persuaded that it would prejudice a requesting party in

      25   maintaining or defending the action on the merits.
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       1             For that reason Rule 36(b) sets forth two factors for

       2   the Court to consider in deciding whether to permit a party to

       3   withdraw or amend its the admissions.       The first fact that

       4   emphasizes the importance of having the action resolved on the

       5   matter.

       6             The second factor requires the Court to examine, as I

       7   said before, whether the party requesting the admission would

       8   be prejudiced by the withdrawal or the amendment.

       9             As the Eleventh Circuit has explained the prejudice

      10   contemplated by the rule is not simply that the parties who

      11   initially obtained the admission will now have to convince the

      12   fact-finder of the truth, but rather it relates to the

      13   difficulty that a party may face in proving its case such as

      14   caused by the unavailability of a witness because of the sudden

      15   need to obtain evidence with respect to questions previously

      16   answered by the admission.

      17             In this case, that leads me to our last motion, which

      18   is Defendant SCI's motion for relief from Plaintiffs' claims of

      19   technical admissions and that's at ECF number 88.         The

      20   principles that I just alluded to dealing with the two factors

      21   for allowing an amendment apply here in this case and they

      22   apply and the result is in Defendants' favor.

      23             I am going to deem the responses served on Plaintiffs

      24   as of February 7th of 2022.      I was convinced by the

      25   presentation that this was a clerical error that has not
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       1   resulted in any prejudice to Plaintiffs.

       2             In fact, Plaintiffs conceded as such during our

       3   hearing today.    What we have now are two pretty much

       4   contradictory admissions which the Plaintiffs can certainly use

       5   during cross-examination.

       6             And this will allow the Court to satisfy the second

       7   factor which is allowing the trier of fact to decide the issue

       8   on the merits.    Both factors favor the Court's discretion in

       9   allowing or deeming that these responses were served on

      10   February 7th.

      11             So those are the rulings on the actual motions.           There

      12   are a couple of other matters to discuss and that is the issue

      13   of the first request for admissions to KKM that was alluded to

      14   in really a very short sentence in one of the filings.

      15             I agree with Defense counsel that it is really not

      16   presently or properly at issue.      It was not the subject

      17   whatsoever of the Joint Status Report.       So I am not going to

      18   consider that at this time.      Obviously the parties will file

      19   appropriate motions if necessary.

      20             Now, in terms of the joint protocol that the parties

      21   will have seven days from today to develop that joint protocol.

      22   I believe seven days from today is August 4th.         After that

      23   testing is to be conducted within 14 days of that protocol and

      24   that is August 11th.

      25             In terms of the motions that I have granted and
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       1   require the production of additional documents, including just

       2   the amendment if there are no other documents, that also will

       3   be responsive documents or the amended answer will also be due

       4   in 14 days.    That is August 11th.

       5               And the reason for the short deadlines, obviously is

       6   the fact that we have a discovery deadline of August 30th.          I

       7   cannot change that deadline for you.       If you want an extension

       8   of any kind, you need to request that extension from Judge

       9   Smith.

      10               And in passing, with reference to the discovery

      11   deadline, I also note that there was a lot of discussion today

      12   about depositions that had not been had, or scheduled.          Again,

      13   I just remind you all that the discovery deadline is

      14   August 30th, which is literally 30 days away.

      15               The last for me to consider today is the request,

      16   Plaintiffs' request in each of its motions for fees under Rule

      17   37(a)(5).    And that rule provides for the payment and expenses,

      18   including attorney's fees when a Court grants a motion to

      19   compel, unless the objecting parties' position was

      20   substantially justified.

      21               Given the lengthy nature of our hearing today and the

      22   mixed rulings that I have issued today with reference to

      23   Defendants in clarifying its answers, I am going to find that

      24   the Defendants' position was, in fact, substantially justified

      25   and, therefore, Plaintiffs will bear its own costs and fees in
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       1   connection with the motion.

       2             All right.     So I think, gentleman, that I have

       3   addressed everything that was before me today.         I think we have

       4   a lot of work to do in this case given the short discovery

       5   deadlines.   So, remember, I cannot change those dates.         So I

       6   wish you well.

       7             Anything else from Plaintiffs?

       8             MR. YEE:   The only final thing, Your Honor, is that

       9   you did indicate that any extensions would have to go through

      10   Judge Smith.

      11             I just want to bring to the Court's attention the

      12   ruling regarding the joint protocol, I think we can get the

      13   protocol done, but the joint testing within 30 days might be

      14   problematic.   Our expert is currently out of the country in New

      15   Zealand and I don't believe he will be back by August --

      16             THE COURT:    I mean, that is something that the parties

      17   can work amongst themselves.      I want to impress upon you the

      18   urgency and the reality of the discovery deadline that is

      19   exists presently.      I can't go beyond it, but you can certainly

      20   agree to something between yourselves.

      21             MR. YEE:   Okay.   Thank you, Your Honor.

      22             THE COURT:    Anything else from the Defense?

      23             MR. BENFORD:    Your Honor, this is John Benford.       A

      24   quick point of clarification.

      25             As far as SCI's amended answers to Plaintiffs' second
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       1   request for admissions, 52, 55, and 56, what is the timeframe

       2   in which that is due?     Is that 14 days?     Did I understand Your

       3   Honor correctly?

       4             THE COURT:    Yes.

       5             MR. BENFORD:    Okay.   Thank you, Your Honor.

       6             THE COURT:    Same deadline for everybody.

       7             MR. BENFORD:    Okay.   Thank you.

       8             THE COURT:    And again, the parties can work, despite

       9   your differences, I think you have worked well together.

      10               And I think to the extent that you need more time and

      11   you can work it out amongst yourselves without further Court

      12   intervention obviously that is encouraged.        But if you can't do

      13   it and you can't agree, obviously let me know.

      14             MR. BENFORD:    Sure.   Thank you.

      15             MR. YEE:   Thank you, Your Honor.

      16             THE COURT:    I want to thank everyone for the lengthy

      17   for participating in this very lengthy 20-minute hearing.

      18               I should say 40-minute hearing and I do appreciate the

      19   fact that both parties were very professional and very

      20   prepared.    That always makes my job easier even when I am

      21   putting together a jigsaw puzzle.

      22               So thank you very much for that.

      23             MR. FIATO:    I would like to thank you for your time

      24   this afternoon, Your Honor.

      25             THE COURT:    All right.   Thank you everyone.
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       1             That concludes the hearing and I am going to stop the

       2   recording and you all are free to leave.

       3             MR. MARI:    Thank you, Your Honor.     Have a good day.

       4             THE COURT:    Thank you.   You too.

       5             (Thereupon, the proceedings concluded.)

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       1

       2                                  CERTIFICATE

       3

       4              I hereby certify that the foregoing transcript is an

       5 accurate transcript of the proceedings in the above-entitled

       6 matter.

       7

       8

       9

      10
           10/12/22                          Bonnie Joy Lewis
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